    Case 1:24-cr-00291-LAK      Document 75-1        Filed 02/19/25     Page 1 of 93




                     UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK
             -------------------------------------------------------------X

                    UNITED STATES OF AMERICA,


                                  - against -


                               MATTHEW QUEEN

                                      Defendant.
             -------------------------------------------------------------X



           EXHIBIT A - REDACTED LETTERS TO THE COURT



                              24 Cr. 291 (LAK)




                          Sam A. Schmidt, Esq.
                         29 Broadway, Suite 1412
                         New York, New York 10006
                             (212) 346-4666


Counsel For Defendant
Matthew Queen




                                           1
               Case 1:24-cr-00291-LAK                           Document 75-1                    Filed 02/19/25                      Page 2 of 93

                                            EXHIBIT A
                                       TABLE OF CONTENTS
                               MATTHEW QUEEN’S SENTENCING LETTERS
                                                            UNITED STATES v. QUEEN
                                                                 (1:24-cr-00291 LAK)

DR. MATT QUEEN OF HIGH POINT, NC . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .1-2

MRS. HOPE QUEEN OF HIGH POINT, NC; WIFE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3-5

MS. MADISON QUEEN OF HIGH POINT, NC; DAUGHTER . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

MR. BILLY QUEEN OF SYLVA, NC; FATHER . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

MR. ADAM QUEEN OF ROSWELL, GA; BROTHER . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

MRS. ELIZABETH WALTERS OF SALISBURY, NC; MOTHER-IN-LAW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9-11

MR. DOUG HARMON OF CONCORD, NC; BROTHER-IN-LAW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

MRS. JENNIFER HARMON OF CONCORD, NC; SISTER-IN-LAW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13-14

MR. NICKIE BUCKNER OF DURHAM, NC; FRIEND . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . 15-16

REV. DAVID WASHER OF BURLESON, TX; FORMER PASTOR, COLLEAGUE, AND STUDENT . . . . . . . . . . . . . . . . . . . 17-18

DR. RYAN STOKES OF JEFFERSON CITY, TN; FORMER COLLEAGUE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19-20

MRS. LAURA DAILY OF CROWLEY, TX; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21-22

DR. JOHN MASSEY OF GRACEVILLE FL; FORMER EMPLOYER AND COLLEAGUE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

DR. TEDDY SORRELLS OF GLADEWATER, TX; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24-26

DR. MATT HENSLEE OF IRVING, TX; FORMER STUDENT                                    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27

MS. HANNAH LAFAVOR OF BIRMINGHAM, AL; FORMER EMPLOYEE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28-29

MR. SUMNER SPRADLING OF BROWNS SUMMIT, NC; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . .30

DR. DORIS HENDERSON OF GREENSBORO, NC; FORMER CONGREGANT                                                        . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31-32

LTC BRANDON KNOX OF ATHENS, GA; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            33

MRS. CANDICE KISLOWSKI OF GREENSBORO, NC; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34-35

REV. AARON LEDFORD OF GREENSBORO, NC; FORMER COLLEAGUE AND FORMER STUDENT . . . . . . . . . . . . .                                                                         36-37

MRS. SUIE PIPER OF COLFAX, NC; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38

DR. JONATHAN (JON) OKINAGA OF FORT WORTH, TX; FORMER COLLEAGUE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
                 Case 1:24-cr-00291-LAK                               Document 75-1                         Filed 02/19/25                      Page 3 of 93
DR. TRAVIS KERNS OF GREER, SC; FORMER COLLEAGUE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 40

MS. JESSIKA SAMS OF FORT WORTH, TX; FORMER EMPLOYEE AND FORMER CONGREGANT . . . . . . . . . . . . . . . 41-42

MR. ROB COLLINGSWORTH OF FORT WORTH, TX; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43-44

DR. CHARLES STEWART OF MANSFIELD, TX; FORMER PASTOR . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 45

Filed Under Seal. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 46-47

DR. THOMAS WHITE OF CEDARVILLE, OH; FORMER COLLEAGUE                                                        . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 48-49

REV. BRUCE GALE OF NM; FORMER STUDENT                                       . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50

DR. ABIODUN (PAUL) OLUWASOGO ADEGOKE OF OGBOMOSO, NIGERIA; FORMER STUDENT . . . . . . . . . . . . . .                                                                                    51

DR. JIMMY DRAPER OF KELLER, TX; FRIEND . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52-53

MR. AND MRS. JAMES ABERNATHY OF GREENSBORO, NC; FORMER CONGREGANTS . . . . . . . . . . . . . . . . . . . .                                                                              54-55

MR. AND MRS. JAMES BIRDWELL OF GREENSBORO, NC; FORMER CONGREGANTS . . . . . . . . . . . . . . . . . . . . . . . 56

DR. JONATHAN BALDWIN OF GREENSBORO, NC; FORMER COLLEAGUE AND FORMER STUDENT . . . . . . . . . . . . 57

MR. DICKEY BRYANT OF MIDDLESEX, NC; FORMER CONGREGANTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 58

MR. KEN CARTER OF GREENSBORO, NC; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 59

MRS. RHONDA CARTER OF GREENSBORO, NC; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 60

DR. AND MRS. KEITH EITEL OF YOUNGSVILLE, NC; FORMER EMPLOYER AND FRIENDS . . . . . . . . . . . . . . . . . .                                                                          61-62

MRS. MONICA FLIPPIN OF CLEBURNE, TX; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 63

REV. RICKY FUCHS OF JOSHUA, TX; FORMER PASTOR AND FORMER EMPLOYER . . . . . . . . . . . . . . . . . . . . . . . . . 64

MR. AND MRS. HERBERT SMITH OF GREENSBORO, NC; FORMER CONGREGANTS . . . . . . . . . . . . . . . . . . . . . . . . 65

MS. RITA HARRELL OF GREENSBORO, NC; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             66-67

DR. PHILIP O. HOPKINS OF ONTARIO, CA; FRIEND . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 68

DR. BRANDON KIESLING OF O’FALLON, MS; FORMER COLLEAGUE AND FORMER STUDENT . . . . . . . . . . . . . . . . 69

MR. DANIEL KIM OF JERSEY CITY, NJ; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            70-71

DR. RICHARD KNIGHT OF FORT WORTH, TX; FORMER PHYSICIAN . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 72

DR. BOBBY LEWIS OF KNOXVILLE, TN; FRIEND . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 73

REV. CAMERON MCCARLEY OF ANDERSON, SC; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             74-75

REV. ALEX NG OF FORT WORTH, TX; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              76-77
              Case 1:24-cr-00291-LAK                        Document 75-1                 Filed 02/19/25               Page 4 of 93
MR. PERRIN JONES OF GA; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 78

DR. SETH POLK OF CROSSROADS, WV; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 79

REV. EDWARD (GUS) RICH IV OF WASILLA, AK; FORMER STUDENT                                     ................................                     80-81

MRS. KELLY RICH OF WASILLA, AK; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           82

MR. AND MRS. CHARLES ROBERTS OF GREENSBORO, NC; FORMER CONGREGANTS . . . . . . . . . . . . . . . . . . .                                           83

HERBERT AND BETTY SMITH; FORMER CONGREGANTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               84

REV. BEN SUTTON OF UT; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     85-87

DR. ANTHONY SVJADA OF AURORA, TX; FORMER STUDENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 88

MR. AND MRS. BILL THARINGTON OF GREENSBORO, NC; FORMER CONGREGANTS . . . . . . . . . . . . . . . . . . . .                                         89

MRS. PHYLLIS TURBYFILL OF GREENSBORO, NC; FORMER CONGREGANT . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                90
      Case 1:24-cr-00291-LAK         Document 75-1        Filed 02/19/25     Page 5 of 93
                                                                                             001


Matt Queen

High Point, N.C. 27265



November 18, 2024

The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007


Dear Honorable Judge Kaplan,

I respectfully write to express my sincere remorse for my wrongful conduct. While reasons
and explanations exist for my conduct, I make no excuses for it. I was wrong and should not
have made a false statement to government investigators.

I grew up in a small town in the mountains of Western North Carolina. My younger self
could have never imagined he would find himself in the current situation of his adult self. I
was the first in my family to achieve an academic degree above college, earning both a
Master of Divinity and a Doctor of Philosophy from Southeastern Baptist Theological
Seminary in Wake Forest, North Carolina. Since answering a call of vocational ministry, I
have had a heart for ministry and the people I’ve met within that context. Throughout my
thirty-one year ministry, I have enjoyed ministering to Christians and the wider community
when serving churches, as well as equipping future ministers while serving at
Southwestern Baptist Theological Seminary in Fort Worth, Texas.

At the end of a tumultuous five-year period (2018-2023), the president of Southwestern
Seminary, David Dockery, asked me to serve as the institution’s interim provost and vice
president for academic administration. I loved Southwestern. In hindsight, however, I was
not ready to function well within the dysfunctional dynamics of the time. As the DOJ’s
investigation unfolded, I felt anxious and overwhelmed. I enjoy working with others in
collaboration, but being told that I could not discuss the situation or the accompanying
investigation with anyone sent me into a state of anxiety unlike anything I had ever
experienced. The isolation and feeling of being unable to trust some colleagues and
attorneys led me to make skewed and unwise decisions based on my own reasoning.

Self-doubt, fear, confusion, and uncertainty abounded within me, and I felt lost. I lost about
forty pounds and was eating and sleeping very little. Your Honor, I lost a little bit of myself. I
did something quite out of character for me—I lied to two colleagues to make myself more


                                                1
     Case 1:24-cr-00291-LAK        Document 75-1       Filed 02/19/25    Page 6 of 93
                                                                                        002


credible by claiming I had made notes that I had not written. I’m shocked by that behavior
because it is simply not who I am or how I have lived my life and ministry.

That I lied to government agents when questioned about the date that I had written the note
shocked me back to reality. I apologized and asked for forgiveness. I testified in the grand
jury. After testifying, the government investigators interviewed me in a manner that
frightened and traumatized me. As I traveled home, I made a plan to commit suicide. After
my wife realized my intent, she took me to a local hospital. Even typing these words
arouses feelings within me of disgrace, humiliation, and disbelief. Your Honor, I deeply and
sincerely regret my conduct.

While I have repented of my sin before God, made it right with the government by correcting
my false statement to them, and have pled guilty before this Court, I will forever live with
the knowledge that I lied, an action contrary to my faith, my character, and my morals. I am
daily reminded that my lie has disappointed my God, my wife, my daughters, my parents,
my brothers, my church, my friends, and my students. I fully understand the responsibility I
have to respect both law and judicial agents. I commit to you, your Honor, to apply the
lessons I have learned from my mistake for the remainder of my life and ministry. I sincerely
request your mercy, your Honor, as you decide my sentence.

Sincerely,




Matt Queen




                                             2
     Case 1:24-cr-00291-LAK          Document 75-1       Filed 02/19/25      Page 7 of 93
                                                                                            003




                       Iina 27265


November 18, 2024

The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, New York 10007

Dear Judge Kaplan:
I met Matt in 1997 at Southeastern Baptist Theological Seminary when we found ourselves in
classes together as we each worked toward a master's degree. He was already employed at a
local church, where be continued to work after we married in 1999. As the years of our marriage
unfolded, be served in two different churches full-time in North Carolina before moving to Texas
to teach at Southwestern Baptist Theological Seminary after earning his Ph.D. As he left each of
those churches, the people grieved his departure, as they knew him for his kindness and
compassion.
God blessed Matt and me with three children, although the middle child died in utero. Matt is
highly invested in the liv-es of our two girls,~ and ~Both of the girls enjoy the
perfonning arts, and, despite the demands of work. Matt prioritizes attending their performances.
When the pandemic kept us at home for a year, Matt began a weekly tradition of Friday night
television with them, based on whatever new movie or show they could stream. Even today,
when the pandemic no longer keeps us at home, our family knows that Friday nights are daddy-
daughter streaming nights.
In 201 0 Matt began teaching evangelism classes for Southwestern Baptist Theological Seminary.
The students loved his classes as he taught them to te!l other people about Jesus. In addition to
classroom time, Matt invested time in his students by phone and in his office. Using his skills in
pastoral ministry, Matt listened to students who faced life crises, advised current and fonner
students who navigated difficult church circumstances, and reassured students whose
discouragement threatened their academic and ministry journeys. Matt quickly became one of
the most sought-after professors on campus, and numerous Ph.D. students came to Southwestern
 Seminary specifically so that they could study under Matt as their supervisor.
 As Matt's popularity with students soared, so did his popularity as a speaker. While he taught
 during the week, Matt eventually traveled most weekends in order to preach or lead training
 seminars for churches and other Southern Baptist organizations across the nation. He authored
 several bookst in which be wrote the contents of what he taught in his classes and seminars.
 On the day after Matt's most comprehe_nsive book was published in Januacy 2023, he witnessed
 the conversation that became a focus of the investigation of the Southern Baptist Convention by
       Case 1:24-cr-00291-LAK           Document 75-1         Filed 02/19/25      Page 8 of 93
                                                                                                  004


 the Department of Justice. lie had just begun functioning as the interim provost of Southwestern
 Seminary. a job similar to an executive vice president. Specifically in that position, he presided
over th~ faculty and over academic matters. The seminary 's atmosphere was tense, as trustees
had ousted the last two presidents. Within five years, the seminary had had five presidents (or
interims) and six provosts (or interims). Matt, along with other faculty members, had feared job
loss as numerous colleagues had been dismissed with no notice in several sweeping layoffs. Man
had frequently come home and told me that he worried that he would be the next professor to
lose his job. In that politically charged atmosphere, Matt was unsure whom be could trust.
A few weeks after the conversation that Matt witnessed, he told me that it was the subject of an
investigation. The president of the seminary instructed him not to tell anybody the investigation
was happening. As a result, we did not even tell our extended family. Matt has always been an
extreme extrovert, and the enforced silence, coupJed with intimidation, led to a downward spiral
in his mental heal~ which was fueled by the dysfunctional atmosphere at the seminary. Matt
was frequently appearing as a guest on podcasts to talk about his book; yet he was anxious and
scared regarding the investigation. Having been led to believe that he would be in legal trouble if
he told anyone about the investigation and assured that the seminary lawyers represented him,
Matt sought help from neither a counselor nor an attorney. He had questions about the
investigation but did not feel the Liberty to ask the seminary 's attorneys out of fear of
repercussions at work.

Matt's anxiety grew. On a regular basis_, I walked into our bedroom and found him on our bed
with his chest heaving and limbs shaking. I watched with concern but felt trapped without a way
for him to get help due to the instruction not to tell anyone about the investigation.
In June 2023 Matt traveled to New York to testify before a grand jury. Before and after he
testified, Matt was interviewed further by the Department of Justice. After the last interview, he
called each of his parents. I listened to his eerie conversations as he told his parents. that he loved
them. I 1inally realized that Matt was planning to commit suicide. The next day, I took Matt to a
hospital, where he agreed to check in as a patient. After meeting with Matt, the psychlatrist
called me to ask if I would agree with his decision to discharge Matt. He explained to me that,
 had Matt previously procured some anti-anxiety medicine and an attorney to advocate for him,
 he never would have deteriorated to that point. Of course, I agreed. As the psychiatrist predicted,
 Matt's state of mind improved as he began taking the medicine and meeting with a lawyer. He
 felt the freedom to speak freely with his attorney, who answered his questions, helped him
 understand aspects of the investigation, and gave him assurance.
Man left Southwestern Seminary to serve a church in North Carolina again in March 2024. After
almost a year of no activity with the Department of Justice, we were surprised to hear this spring
that the government wanted to charge him from the previous year's investigation. Matt's mental
health again began to decline, and he currently meets with a counselor in addition to taking
appropriate medication.
The effects on our family are far-reaching. Matt's reputation has suffered greatly; consequently,
he is no longer sought for speaking engagements, and many friends across the Southern Baptist
      Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 9 of 93
                                                                                              005


Convention have distanced themselves. Since our older daughter's birth, I have stayed home to
parent full-time. Our health insurance and sole revenue depend on Matt, whose income has
decreased due to his legal situation. Following a tumultuous summer resulting from the publicity
surrounding Matt's indictment and later plea, he recently resigned from his job as pastor.
Meanwhile, our daughters Uve in concern for his mental health, considering his hospitalization
last year.
As a married couple for twenty-five years, Matt and I have experienced loss of a home, death of
a child, and health challenges; but this nightmare has been the most difficult to endure. It bas
impacted every facet of our lives, not the least of which is financial stability. Each day presents
hardship as Matt navigates the impact on his career through the lens of a struggle with anxiety
brought on by these events. J look forward to the day when this nightmare will be in the past, and
1ask you please to help us put it there.
Sincerely,




Hope Queen
     Case 1:24-cr-00291-LAK         Document 75-1        Filed 02/19/25      Page 10 of 93
                                                                                             006



High Point, NC 27265

January 29, 2025

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Dear Judge Kaplan,

I am writing in reference to my father, Matthew Queen. Throughout all of my life, I have
watched my dad live a lifestyle of integrity. He taught me how to do what is right, even when
doing so was hard. He taught me how to treat others with kindness. He taught me what a great
dad looks like.

Dad prepared me for college and adulthood. Dad helped me apply for scholarships that enable
me to go to school. He taught me how to interact with professors and peers. Especially through
his career as a respected and loved professor, my father has taught me how to thrive as a college
student and adult.

Dad, despite his busy schedule, consistently spends time with me. Over the summers he takes me
on daddy-daughter dates to dinner. We spend countless evenings dedicated to watching our
favorite TV shows together. Even outside of scheduled time together, Dad always makes time to
talk with me. During the school year while I’m away from home, he calls me just to hear how
my day is going. I can always rely on Dad to make time for me.

Having a present father has helped me grow into the person that I am today. Dad instilled in me a
hard work ethic. Because of him, I never stop trying. Dad taught me how to shake hands. He
taught me how to drive. He taught me how to read my first word. Dad introduced me to Jesus
and continues to help me grow in my relationship with God. Dad molded me into a successful
adult. Matthew Queen continues to set the standard of a good man in my book.

I implore you to consider the entire character of Matthew Queen instead of a single action.
Having my father present has made an indelible mark on my life. I fear, not only for myself but
also for my younger sister, the consequences of his absence.

Sincerely,
Case 1:24-cr-00291-LAK   Document 75-1   Filed 02/19/25   Page 11 of 93
                                                                          007
Case 1:24-cr-00291-LAK              Document 75-1          Filed 02/19/25        Page 12 of 93
                                                                                                     008
                                                                                          Adam Queen

                                                                                          Roswell, GA 30075




October 30th, 2024

The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, NY 10007

Re: Sentencing of Matthew Queen

Dear Judge Kaplan,

My name is Adam Queen of Roswell Georgia. I am writing on behalf of my brother, Matthew
Queen. I have known Matt my entire life of 46 years and have held a close relationship
throughout. Being an older brother, Matt has always been someone I’ve looked up to and admired
from a very young age and still today. He’s always been very patient with me whether it was
playing baseball in the yard or him teaching me wrestling moves after he came home from
wrestling practice. During our early teen years, it was evident there was something special about
him. While most teenagers, including myself, were staying out late getting in trouble and being
mischievous, Matt always walked the straight and narrow. He always set an example for those
that knew him. He never partook in alcohol, tobacco, or drugs and has maintained abstaining
from these his entire life. Instead, he found his guilty pleasures in reading/watching Star Wars
and playing RISK board game with friends.

He found his passion for reaching people and telling them about Christ at a very early age. He was
always involved heavily in church and played music in gospel bands while in high school. He
preached first sermon at 18, and from that point on, he continued his dedication to spread the
gospel. Since, he has followed his passion to reach people even as far away as rural Africa and the
Middle East.

He has been an inspiration for me throughout my life. As the first college graduate in our family,
he inspired me to pursue a degree as well. More importantly, he is my template for a great father
and husband. He’s always heavily engaged with the lives of his wife (Hope) and daughters
(M        and M       assisting with homeschooling, attending their musical recitals, basketball
games, concerts, and church events. He’s also been the cornerstone during very difficult times
such as when Hope was diagnosed with                         and the devastating time when they
discovered their son, William, was stillborn. Through all this, Matt kept his family a family of faith.
To see the relationship, love, and bond of his family, I have no question to the type of man he is.

Matt accepts responsibility for his wrongful conduct. It is my sincere hope that the way he has
lived his life be taken into consideration at the time of sentencing.

Respectfully,



Adam Queen
    Case 1:24-cr-00291-LAK            Document 75-1          Filed 02/19/25     Page 13 of 93
                                                                                                009


                                       Elizabeth B. Walters
                                 Salisbury, North Carolina 28146-8049




November 4. 2024


The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007



Re: Matthew Burton Queen



Dear Judge Kaplan:

I have known Matt Queen for over twenty-five years in a unique relationship: I am his mother-
in-law, or, as Matt puts it, his "mother-in-love." I have entertained him in my home; I have often
visited in his and Hope' s home; I have traveled with them on vacations; I have worked with them
on many community service projects-{)ne in New York, in fact. I have been comforted by them
when my husband died; I have comforted them when they lost their prebom son. I have lived
with them when they needed help due to serious health issues; and they have lived with me for
weeks when in a job transition. I have known Matt in the roles of my firstborn daughter's
successful suitor, a graduate and post-graduate student, a dynamic preacher, a caring pastor, a
devoted husband and father, a lauded seminary professor, a particular and honest scholar, a
leader among his peers, a prolific author, an exceptionally hard worker, a generous donor, a
sincere friend to all people, and a man who humbly offers his help to struggling men and women
of any race, nationality, age, economic or societal status. I have, in fact, seen Matt not only as a
professional, a leader in my faith, but also as a humble and forgiving man, and a loving and
caring family member who can be a little mischievous chasing me with a lizard.

As a family man, Matt is the superstar. Matt became Hope's hero when he, the child of divorced
parents, first expressed his disdain for even a hint of prevarication between a husband and a wife.
In fact, it has become a family joke that Matt buys gifts at the last minute so he does not have to
Jie about the gift to keep it a surprise. If he does purchase a gift early, he often gives it to Hope
long before the celebratory date. He is also a hero because, despite his busy schedule, he takes
Hope on a date on a regular basis. In this manner, he honors his wife and teaches his daughters
that romance is important in a strong marriage. Since his two daughters were toddlers, Matt has
made a practice of taking each daughter on her own "daddy-daughter date." These dates usually
      Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 14 of 93
                                                                                               010


The Honorable Lewis A. Kaplan                Page 2                         November 4, 2024
Re: Matthew Burton Queen

are visits to that child' s favorite restaurant, or going to a favorite movie or even attending a
formal tea. Furthem10re. unless Matt is out of town, he makes it his priority to attend every
performance or recital that his daughters have. That includes church children's or youth choir
presentations. ballet recitals, gynmastics demonstrations, band concerts, orchestra recitals,
dramas, and half-time shows. Matt' s attention to each of his daughters explains why they always
wait at the door to greet him when they hear him drive into the garage. My son-in-law is a
dedicated. loving husband and father.

Matt Queen is a respected hard worker. From his teenaged years to date, Matt has had at least
one job, often two simultaneously. While I have known him, he has been on staff at various
churches- from music and youth minister, associate pastor, evangelism pastor, to lead pastor-
and be has been a professor at a college and seminary. During his seminary tenure, he has taught
in classrooms on campus and around the world in person. Also, he has taught a number of
classes on-line. In addition, he has served Southwestern Seminary as associate dean and interim
provost. To supplement his income, Matt has often worked other temporary jobs: professional
consultant, author of countless articles in professional journals, editor of professional books, co-
author or author of several books, and even theological reviewer for a popular Christian author.
Assuredly, Matt' s work history attests not only to his drive but also to his excellent work ethic.
He always gives more than the minimum requirements to each task.

In all he does, Matt respects and loves God. Consequently, he tries to express God ' s love to all
people-including his mother-in-law. Matt's caring heart for me inspired him to purchase and
install a new commode seat for me when visiting for the holidays. His caring heart for " the least
of these" at his jobs means he knew all the seminary security workers by first name and always
asked about their lives. As a result, even after hours, those workers never asked for Matt' s
seminary credentials. When Matt was working for Southwestern Seminary, he was exceptionally
popular with the students because he took his personal time to train students in sharing their
faith. He was also the professor who cooked pancakes overnight to feed students studying for
final exams. Each year Matt played in the faculty-student ball games. His office was also open
to counsel students. Often when he heard of a student's need for food or special medical care. he
 personally took them to meet their needs, often at his own expense. When Matt was associate
 dean, he checked on his professors during crises. Once during a severe Texas snowstorm. he
 drove his truck to a professor's house to facilitate getting a load of fireplace wood to keep the
 professor' s family warm until power could be restored. Often, simply going out to eat Sunday
 lunch with Matt and Hope was like a meeting of the United Nations: Matt invited people who
 needed to know God loves them, regardless of their ethnicity, race, or origin. My most recent
 adventure in ministry with Matt and his family happened shortly after he had become lead pastor.
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 15 of 93
                                                                                             011


The H~)nomhl<..· Lewis A. Kaplan            Page 3                        November 4, 2024
Rc: Matthew Burton Queen

An indigent tf'J.nsient attended worship service and afterward Matt counseled him. A few days
btcr, the man asked Matt to pick him up at the Greensboro bus/train station and drive him quite a
distance across the city to a motel where the man could stay overnight before returning to
Durham. As I recall, Matt gave the man money for his upkeep until the transient could get
home. Matt Queen's life has been poured out as a love offering to God to show all people that
God loves them with an eternal love more priceless than anything this world can offer.

My son-in-law is not perfect. He puts too much in his pants pockets, which wears holes in even
his newer garments. I know because I sew up his pockets regularly. Sometimes he is too tuned
into his computer games to get to the dinner table without being called twice. Matt is also
something of a gourmand: he would skip a traditional meal such as family Thanksgiving rather
than eat turkey. Later, he would go out for a burger. Still, he supports family fellowship even
when he cannot hold up his head.

Lately, since this incident from the interrogation, Matt is sad and beaten down. Even when
surrounded by his family who loves him, Matt often sits silently with his head bowed. Once
when I asked him why he was so sad, he said he was full of regret. He expressed to me that he
desires not to ever hurt God' s Name or His Kingdom. Similarly, Matt says he has always
respected government authorities that he believes God Himself has given us for our welfare. He
looked like a little boy sorrowful for inadvertently breaking a window. My son-in-law has
endured very much disdain and outright hatred because of this incident. He has been beaten up
by the media, church leaders, colleagues, and even some friends who have silently allowed him
to suffer alone. They have distanced themselves from Matt for their own self-preservation.
 Most of his speaking engagements and publications have been cancelled because of this incident.

 Your Honor, I beg you to show my son-in-law grace and mercy . I believe Matt pled guilty
 because of hi s personal integrity . He has been very conscientious to live within the limitations
 given him after the indictment. He has lived a life of love and respect for God, his family , the
 government, and for all people. Certainly , if a man ' s mother-in-law respects and believes in him
 as much as I do Matt, that is grounds for your most compassionate consideration.

  Respectfully submitted,




   Elizabeth B. Walters
     Case 1:24-cr-00291-LAK            Document 75-1         Filed 02/19/25       Page 16 of 93
                                                                                                  012




Concord, NC 28027




The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007


December 26, 2024

Your Honor,

I am writing to provide a character reference for Matthew Queen, who is currently before the court.

My name is Douglas Harmon, and I have known Matt Queen, my brother-in-law, since 2015 when
my then-girlfriend Jennifer introduced me to her family. From the first day, Matt was gracious and
welcoming, and he worked hard to make me feel welcome.

From watching Matt with his wife (Jennifer's sister Hope) and daughters, it was clear then, as it is
now, that he values family and cares deeply. In fact, when Jennifer and I became engaged the next
year, we made a point to ask Matt to officiate along with our local church pastor. Je nnifer and I
asked Matt to preach because we believed (and still believe) his life already reflected the strong
values of love and commitment that we wanted to uphold in our marriage, and we couldn't think of
a more fitting person to serve in that way.

As the sole breadwinner in his family, Matt's employment has always provided much-needed health
insurance for himself, his wife, and two daughters. He is a hard worker who takes that role seriously.
In 2022 he was supposed to be on vacation between Christmas and New Years. However, I watched
him spend several days on a writing project instead of taking the time to relax.

Matt also has a generous heart and wants to help others. Matt has two young daughters, ~
and ~· It's normal for parents to save money to pay for their children's education when they go
off to college. During his t ime as a professor, however, he also established a small scholarship fund
for other young people to help pay for their education as well.

I ask that you consider Matt's strong desire to help others as you deli berate on this case. Please feel
free to contact me at the number or email address listed above should you requ ire any further
information or clarification. Thank you for your time and consideration.

Sincerely,



Douglas Harmon
     Case 1:24-cr-00291-LAK        Document 75-1       Filed 02/19/25    Page 17 of 93
                                                                                         013


The Honorable Lewis A Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007

December 26, 2024

Your Honor:

VVhen the name Matthew Queen comes to mind and heart, I immediately picture
uprightness, kindness, and generosity.

My sister Hope Queen is my only sibling, and from my very youngest years, we have
treasured one another. I would never trust my sister to just anyone, but Matt's love for
her and his upright character were apparent from Day 1. VI/hen Matt proposed to Hope
in 1998, I was overjoyed to welcome him in the fami ly, as were my parents and
extended family. At that time, my father, himself a pastor/ missionary, was particularly
delighted because he recognized Matt as a man of great integrity and humility.

I'll never forget the days just after my father passed away in 2024, when Matt threw
himself into ensuring that my mother, my sister, and I felt safe and cared for. I still have
a mental picture of his running from one car door to the next to be sure they were
opened for each of us to get in from the cold. It wasn't just an isolated action- that
illustrates Matt's heart of compassion and kindness.

But it's not just kindness that I've seen from Matt over the years. He also believes in the
value of honest, hard work. One of the other early mental pictures I have of Matt is
helping to pull a large log through my parents' backyard as he assisted in clearing
debris from a dead tree, that they struggled to clear by themselves. He has always been
quick to volunteer when he heard a need, whether it came from a fam ily member, friend,
or even a stranger.

For most of his adult life, Matt has worked multiple jobs simultaneously, wh ich helped
his fam ily make ends meet. Even after he became a professor, he served part-time on a
church staff. Matt has been the sole provider for his wife and two daughters for much of
the ir married lives, and I've known him to go with almost no sleep, just to make sure that
he cou ld keep up with the work of teaching, grading papers, advising students, and
caring for the people at his church.

Matt also clings to his code of conduct. As a younger sibling, I have watched Hope and
Matt's marriage carefully, and it has always served as an inspiration for my own
marriage. Not once in the 25 years of their marriage- not one time- have I had the least
concern that either Matt or Hope were disloyal to the other. VVhen I got married in 2016,
my husband and I were quick to ask Matt to preach the ceremony because we knew he
could be trusted to honor God and our family as we took one of the most important
steps in our lives.
     Case 1:24-cr-00291-LAK        Document 75-1      Filed 02/19/25     Page 18 of 93
                                                                                         014



Matt's loyalty to his loved ones has stood out at other times. too. VVhen my sister was tn
the hospital several years ago, Matt was her number one cheerleader and one-man pep
squad. ensuring not only that she get the best medical care that they could find, but also
that the friends and family around her maintained positive attitudes.

He is also a highly dedicated father who loves his children with devotion and kindness.
A few days after Hope and Matt lost their middle child William in childbirth. I recall Matt
hugging ~. then five, in his arms and saying how he treasured the chance to hold
close the "child God let me keepn.

\Mlen Hope and Matt were finally blessed with another child, •        . one more mental
picture is of a Christmas visit when she was just three months old. Because •
suffered from terrible reflux , she cried constantly. It was with amazement, then, that I
saw my sister gently pass a screaming ~to Matt, who through repeated practice
and patience, had learned to calm her.

Matthew Queen is one of the most upright, kindhearted, and generous people whom I'm
privileged to know. My sincere hope is that he can remain in his household and
community, as his fam ily and friends deeply depend on him.

Sincerely,
~/J~~
     Case 1:24-cr-00291-LAK         Document 75-1       Filed 02/19/25     Page 19 of 93
                                                                                           015


The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007

Your Honor,

I’m grateful for the opportunity to write this letter and tell you about my friend Matt Queen.

I can’t imagine how di>icult it is to determine an appropriate sentence for a person that has
committed a crime. How do you balance the harm they’ve done with the good or the bad
that they’ve done during a lifetime? How do you consider the character of the man? It
seems impossibly hard.

I’d like to tell you about him, the boy that I met in the sixth grade and the man that I know
today. I hope what I say will be helpful.

While I am shocked that Matt broke the law, I am not shocked that he pled guilty. He has
always born the weight of doing the right thing. He hasn’t always been able to see what the
right thing was in the moment, but if he felt like he did something wrong, he would
eventually confess and do his best to atone for it.

For a kid, that was an infuriating quality. There was no “getting away” with anything. If you
were going to do something sketchy, you didn’t invite Matt. His sense of morality was less
grey than mine. Something that seemed inconsequential to me could be a big deal to him.
Something that I could live with, he couldn’t. No matter the repercussions, if he felt guilty,
he would rat himself out. At the time, I couldn’t understand that.

I suppose that I’ve always had a hard time understanding Matt. He had such a strong and
unshakable faith in God. He wanted to go to church. He wanted to have fellowship and
testify about what God meant to him. I wanted none of it and to this day feel like more evil
has been done in the name of religion than good, which makes me wonder how a non-
believer and a man of God can stay friends for nearly 40 years. Until this moment, I haven’t
truly reﬂected upon why Matt and I are friends.

It’s certainly not because we share the same ideals or beliefs. We played little league
together and like to watch baseball, but sports are never a real topic of conversation. We
were nerds and went to see the new Star Wars and Lord of the Rings movies together, but
we don’t talk or discuss ﬁlm. Now, in our late forties, we only talk over the phone a few
times a year and rarely see each other.

What connects us besides growing up in the small mountain town of Candler, NC?
     Case 1:24-cr-00291-LAK         Document 75-1        Filed 02/19/25     Page 20 of 93
                                                                                            016


I can’t speak for him, but what I appreciate about Matt is his authenticity. He genuinely
wants to help people regardless of who they are or what they believe. I’ve met a lot of
religious folks growing up in the bible belt, and I can say that most have struck me as
judgmental and narrow minded. Salt of the earth folk, but not people inclined to help
others that are “di>erent”. Matt isn’t like that. He wants to help anyone. He doesn’t judge
or think that he’s better than you.

He’s never tried to “convert” me. He’s always respected my position on religion.

He doesn’t behave di>erently in public than he does in private. He isn’t fake. He isn’t
preaching the word of God one minute and living high on the hog the next. He isn’t putting
on airs to impress people. He visits folks in the hospital. He goes to their homes. He shows
up for people and tries to do right by them. He isn’t one way in the morning and another
way in the evening.

When I think of a “good Christian”, Matt is what I picture. I’ve seen him minister and serve
when there was nothing to gain.

I’ve seen him do stupid stu> too. I’ve seen him make mistakes. I’ve seen him be a jerk, but
I’ve always seen him apologize and try to make it right.

I don’t think Matt is perfect. I don’t think anyone is, but I do think he’s a good person. He
shares my history and makes me feel rooted in the earth. He makes me feel better as a
human simply by being my friend.

I understand that good people sometimes do bad things, and they need to be punished for
their crimes. I hope this letter provides some sense of the man as a whole and helps you
determine an appropriate punishment for him.

Thank you for your time and consideration,




Nickie Buckner

Durham, NC 27713
     Case 1:24-cr-00291-LAK           Document 75-1         Filed 02/19/25       Page 21 of 93
                                                                                                   017


To The Honorable Lewis A. Kaplan                                                        Nov. 21, 2024
United States District Court
40 Foley Square
New York, N.Y. 10007


Your Honor,

        My name is David Washer, and I would like to take a moment of your time to write you a
letter regarding the character of Matt Queen. I have known Matt for over 10 years. I was one of his
students, a fellow church member, and eventually one of his coworkers.

        I first became acquainted with him at Southwestern Baptist Theological Seminary. Even
before I took one of his courses, I had already noticed that Matt loved helping others. One of my first
conversations with Matt was outside of his work hours. He was leading a program that helped
students learn how to start conversations with strangers. He helped me to engage strangers where
they were, by learning to care about the person and the struggles they were living through. Where
some people care more about numbers and end goals, Matt seemed to stop everything to just care
for the individuals. When I did get to take one of Matt's classes, I saw first-hand how much he cares
for his students.

        In 2013 I moved across town and started attending a new church and was surprised to find
that Matt and his family also attended there. It was at that time that I got to know Matt more
personally. I found that Matt was a real person and that the image he portrayed on campus was in
fact the man he was in his private life. My family got to know his family and witness what a great
father and husband he is. We saw that Matt had a great marriage and that his values were shared by
his whole family. Matt helped me learn how to manage my work commitments and my family time
in ways that brought the best out of both: how to love my wife and raise my children while
passionately ministering to those around me.

        My family later got to live and work in Madagascar for six years. Those years were very hard
on our family. Madagascar was one of:the top 10 poorest countries in the world during those years.
We struggled with learning the language, living with daily power outages, lack of clean drinking
water, next to no medical services, and a work schedule that regularly took me away from home for
weeks at a time. I often worked in villages full of starving people, and had beggars lined up at our
house most mornings requesting help. It often felt like we were trying to hold back ocean waves.
During those years, Matt continually checked on me, and my family. He helped me raise money to
conduct multiple food distributions across southern Madagascar.

        And on my hardest days, when we wanted to give up and come back to the US, Matt would
always seem to call knowing I needed to talk. He listened to our frustrations and our feeling of
helplessness living in a third world country where we could not truly provide long term support for
starving people. He would always remind me that what we were doing mattered and that even
though we could not lift them out of poverty and darkness, we could love them today and offer them
    Case 1:24-cr-00291-LAK             Document 75-1         Filed 02/19/25       Page 22 of 93
                                                                                                    018


hope. He advocated for our family and work before American churches and sent us care packages
containing things ranging from water filters to birthday and Christmas presents.

        In 2021 my wife almost died of a combination of malaria and a couple other sicknesses, and
we started to realize we may need to return to the US. This was a very hard time for our family, and it
seemed like I didn't go two weeks without Matt reaching out to me. In 2022, we made the decision
to return to the US but had no prospects of employment and were greatly limited in applying for jobs
from a third world scenario. I later discovered that Matt, who was working part time at our church
while still working full time at the seminary, selflessly offered to give up his church salary so the
church could offer me those funds until I found a new job. However, he never had to follow through
on that offer because one of the other pastors at the church took at position at another organization
and the church offered me that job which I still hold.

        As we returned to the US we had to completely start over. We owned next to nothing and
what we did own would not arrive in the US for months after us. But Matt and another pastor
                                                                                       '
organized support for us that provided a completely stocked and furnished house for us the night
we returned to the US. We could not believe what they had done for us. I have seen. Matt personally
give money to church members and students as he heard they were in need. Just last year Matt
heard that I was working a side job to earn a little extra money for the holidays, and he walked up to
me and handed me $100. Matt has advocated for our church to financially support international
students that could not afford to continue living and studying in the US. And when the church
agreed, I have seen Matt give cash from his own pocket to provide extra help.

        In the months after .1 returned to the US, I struggled with readjusting to living in American
                             '                                                             I
and dealing with what we had seen and experienced in Madagascar. Matt immediately recognized
that I was struggling and went out of his way to talk with me and to help me readju~t to life in the US
and to start to deal with what I had experienced and seen overseas.

        For me, Matt went from an inspiring speaker to my favorite professor, to a mentor, to one of
my greatest supporters, to a treasured coworker and a lifelong friend. I believe that ,Matt Queen's
influence is directly connected to the success of my ministry and the health of my family. To state it
as straight forward as I can: Matt is one of the best men I have ever known. I know Matt messed up,
but my opinion of Matt has not changed because he could not allow that mistake togo uncorrected.
And I believe society is a better place with men like Matt active in it. I hope you will consider the
impact he has had and will have on those around him as you determine his future. Thank you for

reading my letter.      _;(                  ~-~~
                 -;;:iW~L-=--=~=-~ --~~~-
                David Washer

                Burleson Tx. 76028
     Case 1:24-cr-00291-LAK        Document 75-1      Filed 02/19/25     Page 23 of 93
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The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Noyember 19, 2024

Dear Judge Kaplan:

I write to you today on behalf of Matthew (Matt) Queen, who has been a dear friend to
me and my family for nearly 14 years. My desire is to share with you the character of my
friend, as I know him very well and have seen his commitment to doing what is right, a
commitment which he has demonstrated consistently and frequently through his words
and actions throughout the years that I have known him.

I can bear witness to the fact that Matt is truly an exemplary person. Matt has been a
role model for so many of his students and colleagues. This is true not simply for those
who have become moderately acquainted with him as a teacher and leader, but is true
to an even greater extent for those who have gotten to know Matt and his heart
intimately. In other words, the better that one gets to know Matt, the more impressive he
really is. As he and I have shared many personal and vulnerable conversations over the
years, I have gotten to know a sincerely good person, one who behaves and speaks
privately the same way that he behaves and speaks publicly. The passion that he has to
please his God and to help others to do the same are at the core of who he is.

Matt holds himself to the highest conceivable moral standards, has an unusually
sensitive conscience, and exhibits an overriding concern that he deal with others fairly,
compassionately, and honestly. He has shared with me on numerous occasions the
anxiety that he experiences as he tries to determine the morally right course of action in
a given situation. His friends even tease him for his habit of apologizing to us for giving
offense even when no offense has been given. I cannot recall a single time when Matt
has wronged me or misled me, though he often worries that he has. If it is possible to be
pathologically good, that is what Matt is.

There is far more that I could say about the quality of a person that Matt is. I could share
for instance how he sacrificed his health to carry out mission work in remote and
challenging locations around the world or, closer to home, how he came to my house
and wept with my family the evening after I was laid off from my job. Whatever the
situation is and whatever the cost to himself, Matt has been someone that I can always
count on to do good to the best of his ability.
     Case 1:24-cr-00291-LAK      Document 75-1      Filed 02/19/25    Page 24 of 93
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I am acutely aware that my words are insufficient to relate to you what I have seen with
my own eyes and heard with my own ears pertaining to Matt's character. I hope,
however, that as you determine an appropriate sentence for him, you will find my
remarks helpful. Thank you for your service and for your careful consideration.




Ryan Stokes
     Case 1:24-cr-00291-LAK   Document 75-1    Filed 02/19/25   Page 25 of 93
                                                                           021
                                                                       10/24/24

To: The Honorable Lewis A. Kaplan          From: - -
    United States District Court
    500 Pearl Street                              Crowley, TX 76036
    New York, N.Y. 10007




Dear Judge Kaplan,

I'm writing to you concerning Matthew Queen. In light of current
circumstances, I would like to offer a character reference on his behalf.
Matthew Queen is my friend and my family and I served under his leadership
at the church where he was on staff when he lived in Texas. We were so
fortunate to get to know him over the span of three years. He has become such
an important role model to my family and I, my life wouldn't be the same
without his obedient response to God's call on his life.

Three years ago my husband and I realized a very specific need in our walk
with the Lord. A friend of ours, and former student of Matthew Queen,
recommended that we visit the church where Matthew Queen was on staff.
During this time, a second and separate recommendation came from another
friend, and former student of Matthew Queen, to visit his church so that we
could be ministered to. Our friends spoke very highly of Matthew Queen, his
leadership, his ministry, and his gift and passion to bring the truth of God's
word; this was the reputation that preceded Matthew Queen. We visited
Matthew Queen's church, and after a short time we joined the church in
membership. Over the next three years, serving under Matthew Queen's
leadership, we were able to see, personally, where his respectable reputation
came from.

We were continually blessed by his teaching, both in a classroom setting and
as a part of the congregation. There were countless occasions that we served
alongside him through community outreach. This year, my family had a
unique opportunity to attend a mission trip under his leadership. He provided
counsel and guided my husband and 1, and also our oldest son, while we were
     Case 1:24-cr-00291-LAK    Document 75-1    Filed 02/19/25   Page 26 of 93
                                                                                 022


navigating through some complicated issues. In other words, through many
diverse circumstances, over the course of three years, in difficult times, and on
extremely long days, Matthew Queen consistently revealed the hardworking,
honest, moral and loving man that he is. He is a selfless and devoted leader. He
seeks the Lord. His intentions are only for the good of others.

Although Matthew Queen was called to pastor a church outside of Texas, we
are still benefiting from his ministry as another one of his former students
assumed some of his leadership responsibilities here. He has impacted so
many people, for the good.

Matthew Queen is a respected and dear friend, he is a man of great integrity
and he holds himself to high ethical standards. And while these current
circumstances are unfortunate, I assure you that they are not at all
representative of him or his character.



Thank you so much for your valuable time and consideration in this matter.

Sincerely,

Laura Daily
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25     Page 27 of 93
                                                                                              023
John Massey, Ph.D.
Executive Vice President
Baptist University of Florida
5400 College Drive
Graceville, FL 32440

December 3, 2024

District Judge
Hon. Lewis A. Kaplan
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Dear Judge Kaplan,

         I have known Matthew Queen for 13 years. We were colleagues at Southwestern Baptist
Theological Seminary between January 2012 and July 2023 when I left for another position in
another state. We both served in the Fish School of Evangelism and Missions at SWBTS during
this time, so I know him well. My last 3.5 years at SWBTS I served as the dean of the Fish
School, and Matt was my associate dean. I have never served with a more devoted, capable,
hardworking, faithful and loyal individual than Matt. Having worked closely with Matt over
these many years, I have a very high view of Matt’s character, integrity, and generosity. Not only
did he constantly give of his time to serve students and his colleagues, but he also gave of his
own financial resources to help students in need. He has been among the most popular professors
in denominational life because of his love for students and accessibility to them at any time. Matt
is a selfless individual and has been a credit to the Christian ministry and the denominational
community he has served for most of his adult life. He is well known and loved across the
denomination, being regularly asked to speak in multiple churches, events, and venues across the
country. He has a tender and compassionate heart and has been a faithful friend to many in
ministry and beyond. Matt is broadly respected and loved by all who know him. I have always
known him to have a tender conscience, being quick to admit wrong and make amends when
needed. Most of all, Matt has been an exemplary family man, a faithful husband, and loving
father. He has cared for his wife, Hope,                            and has been very involved in
the life if his daughters. The world would be a better place with more Matt Queens.

John Ma�ey

John Massey, Ph.D.
Executive Vice President
Baptist University of Florida
5400 College Drive
Graceville, FL 32440
Case 1:24-cr-00291-LAK   Document 75-1   Filed 02/19/25   Page 28 of 93
                                                                          024
     Case 1:24-cr-00291-LAK         Document 75-1       Filed 02/19/25     Page 29 of 93
                                                                                           025


The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007




Your Honor,
       Thank you for taking the time to read my letter regarding my friend and esteemed
professor Dr. Matthew Queen. I am grateful for the opportunity to share with you how wonderful
Matt has been to me.
        When I was thinking about a seminary to attend, I chose Southwestern Baptist
Theological Seminary (SWBTS) because of Dr. Queen and the School of Preaching. Matt is well
known throughout the evangelical Academy for his wonderful instruction in evangelism. Matt
held the prestigious L.R. Scarborough “Chair of Fire” of Evangelism at SWBTS and that
endowment to this very day carries great honor in our Southern Baptist world. Dr. Matthew
Queen excelled in his academic career and would eventually become the Dean of the School of
Evangelism and was well regarded by so many of his peers. Matt has taught thousands of pastors
and ministers in evangelism and the Kingdom of Christ has been advanced greatly because of his
influence.
        I enrolled at SWBTS in 2017 attending the School of Preaching for my Doctorate of
Ministry (DMin). During my enrollment, SWBTS went through many changes which impacted
my studies greatly. The Professional Doctoral Studies department went through three different
Deans and our program changed each time. By the time I was ready to write my dissertation, I
had to change doctoral supervisors twice. I was ready to quit when I asked Dr. Queen if he would
be my supervisor. He was so gracious and kind, and although he already had a full load of
doctoral students, he enthusiastically agreed to supervise me. During the following years Matt
and I became deep abiding friends. I was only able to finish because of Dr. Queen. I had
navigated a couple of ministry changes in my life, and I had wanted to quit several times. Each
time I called Matt up and told him I was quitting; he would stop me. He would pray with me,
encourage me, and refuse to let me quit. He said these four words over and over and I will
always be grateful for him, “I believe in you!” One of the greatest highlights of my life was
when I walked across the stage to receive my Doctor of Ministry in Preaching degree and stood
there while my friend, Matt Queen, “hooded” me. This picture hangs in my office and I recall
that day often.
        Your Honor, when it comes to Dr. Queen, there are hundreds of Doctoral students who
would say the same thing I am saying. They would stand for Matt and tell you that he is one of
the most respected and kind men we have ever met. I know Matt has pleaded guilty to a crime. I
am aware that there are consequences for our actions and we must accept those consequences
whatever they may be. I know Matt well enough that he will do this with integrity and grace. He
has lived a life of integrity and grace. The fact that he has admitted guilt and repented is a
testament to his integrity. I have prayed with Matt on numerous occasions regarding these next
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 30 of 93
                                                                                                  026


steps in his life. I believe him when he says that he regrets what he has done and that he will
pursue truthfulness and righteousness for the rest of his days.
        Finally, Your Honor, Matthew Queen has a wonderful family. He is dedicated to his wife
and his children. He loves them dearly and they love him back! He cares with his whole heart
and leaves nothing behind when it comes to loving his family. Matt has been an example for so
many when it comes to being a husband and a father. My wife and I love him for his counsel and
pray often for his family as he awaits the final outcome on this case. Thank you for reading and I
pray my letter has been beneficial for Matthew Queen.


In Kind Regards


Dr. Teddy W. Sorrells Jr.
                       Gladewater, TX., 745647
                Case 1:24-cr-00291-LAK             Document 75-1          Filed 02/19/25        Page 31 of 93
                                                                                                                  027
                                                         A
                                                 PLYMOUTH PARK)
                                                 BAPTIST CHURCH



The Honorable Lewis A. Kaplan
United States District Court
                                                         v
500 Pearl Street
New York, N.Y. 10007

Your honor, I met Dr. Matt Queen on the Southwestern Baptist Theological Seminary campus when I began my first degree
through a course he taught. I was a full-time pastor, and my wife and I were surprised with a three-child foster placement of a
1-, 2-, and 3-year-old who came to us from a very traumatic past. I did not think it was the time to begin a demanding degree,
but Dr. Queen convinced me to give it a shot anyway, and over the next four or five months, Dr. Queen was always there when
I needed help or encouragement from him.

That need came to a head during the final exam when I got an urgent message that our three kids would be going away with an
extended family member. It broke me. We had an adoption date and everything, and the news shattered our hopes and dreams
in just a few short words from a case manager, but there was Dr. Queen. He saw the tears flowing from my face, the agony in
my voice as I told him and encouraged me to drop everything and go home and be there for my wife and savor every moment
we had left with the kids. I protested with concerns over not finishing my final exam, but he insisted I put my family first,
prayed for me, and, over the next few days and weeks, would regularly check in on my wife and me.

Dr. Queen and I remained friends, though our paths separated a bit as I left the DFW area to pastor a church near San Antonio,
Texas, which would end up being one of the most challenging and traumatic experiences of my life. Suffice it to say, I battled
severe depression and panic attacks and regularly thought of and once tried to end my life. Through it all, however, Dr. Queen
was a phone call away to pray for me, encourage me, and offer me wisdom or practical steps to deal with what was going on.
No longer my professor, no longer paid to be there for me, and yet, he was always a phone call or text away. That's the Dr.
Queen I knew on the first day of my first seminary journey, the last day of my second seminary journey, and every day since.

Thus, it was jarring to me to see one of the best friends I had, the most humble and kind person I knew, and a husband, father,
and person of such high integrity, honesty, and character in the news, initially accused of something so wrong. I was shocked,
floored, disappointed, and thought, "This isn't the Dr. Queen I know; there's no way." While what he admitted to is serious, and
I'm so delighted he took the high road to admit to his mistake, repent from it, and learn from it, I'm pleading with you for what
we would call grace or leniency in sentencing.

Dr. Queen is a kind, humble, gentle, and exceedingly gracious man who has lived a life of utmost integrity and professionalism
and made a mistake-a significant one. Still, he acknowledged his wrongdoing, admit to it! and repent, and I am confident he
would never do it again in a million years. If I may be so bold, Your Honor, if it is in your power, I beg you to consider dropping
everything or reducing the charge so he can continue serving as a minister and provide for his family because there isn't a
better, more godly pastor or professor alive today. And I'm alive today because of him, and I desperately want this chapter to
close for the Queens graciously.

Respectfully,




            :                              ~                    Irving, TX           ~
     Case 1:24-cr-00291-LAK           Document 75-1         Filed 02/19/25       Page 32 of 93
                                                                                                  028


The Honorable Lewis A Kaplan
United State District Court
500 Pearl Street
New York, N.Y 10007


Dear Judge Kaplan.
        I am writing to you regarding the character of Dr. Matthew Queen. I met Dr. Queen in
February of2022 at Southwestern Baptist Theological Serrtinary. Dr. Queen hired me to be his
Administrative Assistant while he was Associate Dean of the Fish School of Missions. At the
beginning this role was just a part-time position for me as a student who needed work, and I was
told from other people how wonderful it would be to work for Dr. Queen. I thought to myself,
"He is probably just another professor who has a prominent position and that is why people
speak so highly of him.'' [ could not have been more wrong. From the moment I met Matthew
Queen, I was given the honor of seeihg how intentional, encouraging, and empathetic be is.
        Dr. Queen thinks about others before himself always. I have never seen him put the
interests of himself above those that need help and love. His intentionality astonished me
because be gave attention to details of my life and helped me grow throughout our time together.
Dr. Queen would take time to make sure I knew what was needed or to clarify any confusion I
had about the duties of the assignments be gave me. He supported me when I had my own
struggles, and he put my holistic health first as a person and notj11St as a position that supported
him.
        I walked alongside Dr, Queen as he cared for students and for the institution. He thought
of detai ls that would benefit the students in their studies and persona[ lives. We spent hours
brainstonrung ways in which students c.ould benefit fi·om his classes and from events that would
carry past the semester's experience. Many ofthe students that Dr. Queen taught were fu.IJ time
students, ful l time workers, fathers/mothers, and international students. They had lives outside of
the classroom that needed a mentor to help them balance 1ife. Dr. Queen encouraged students
when life seemed overwhelming. He would give them words of wisdom~ Scripture verses,
resources, and kindness to help revive their stamina to push through.
        Dr. Queen is a man who feels 1.bings deeply. I believe this to be rare in our culture and
society today because he does not hide when he struggles or w,hen he is flourishing. He is
humbly authentic in his interactions with others. He is mature enough to understand that wl1en
things are rough, like during this situation currently, be can relate to those that are struggling too.
He uses these experiences to better himself and to encourage others. His empathy for others and
his authenticity to connect with them stands out to me fi.·om among the other men that I know.




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      Case 1:24-cr-00291-LAK        Document 75-1        Filed 02/19/25     Page 33 of 93
                                                                                            029


        The Queen family and I have kept in contact since 1 graduated and left the seminary in
May 2023. I am aware of the situation he is currently in, and I have thought about everything
written here In light of the circumstances. 1 believe Dr. Queen to be a good man with intentions
that benefit others to see them flourish and not to hann. I still consider it an honor to have
worked with him and would do so again iftbe opportwutypresented itself~



Sincerely,

~~~1~
Hannah LaFavor



Birmingham. AL 35242
  Case 1:24-cr-00291-LAK           Document 75-1        Filed 02/19/25      Page 34 of 93
                                                                                              030




Browns Summit, NC 27214

October 29,2024

RE: Matthew Queen



To the Honorable Judge Kaplan:

I am writing to you on behalf of Matthew Queen. My name is Sumner Spradling. I have
known Matt for the past 18 years, since he first became a member of the pastoral staff
at my church.

Matt is one of the kindest, most humble, sincere, and honorable people I've ever known.
And he absolutely loves ministering to people. I have witnessed frrst-hand his love and
concern for others. He treats everyone with warmth and respect, as if they are the most
important person he knows, regardless of their background or standing. He is a genuine
minister in the truest sense of the word, both in the church and in the community.

In addition to his qualities as a minister, Matt is a steadfast friend. I have found him to
be truthful and unwavering in his principles. Similarly, he is dependable in keeping
private matters private. I have experienced frrst-hand that if Matt says he will keep a
matter confidential, then he does exactly that.

Matt is also an exemplary husband and father. He and his wife have trained their children
to live humbly and peaceably and to be respectful of others. I admire him in this regard.

Matt has made an error. He has told me personally of his heartfelt remorse and utmost
desire to move past this unfortunate mistake and to return to his purpose and calling as
a minister.

In short, I love and respect Matt, and there is no one I'd rather have as a pastor, and
more importantly as a friend.

With all respect,


.~~
Sumner Spradling
  Case 1:24-cr-00291-LAK           Document 75-1        Filed 02/19/25       Page 35 of 93
                                                                                              031




                                             Dr. Doris Henderson

                                             Greensboro, N . C. 27410


                                             October 30, 2024

The Honorable Lewis A Kaplan
United States District Court
40 Foley Square
NewYork, N. Y. 10007

                                             Re: Matthew Queen

Dear Judge Kaplan:

l wi 11 greatly appreciate your reading this letter as you consider sentencing. I have known Dr.
Matthew Queen since 2006, when he came to serve on the pastoring staff at Friendly Avenue
Baptist Church in Greensboro. At the time, he was working on his doctoral degree. I had retired
from the. Guilford County Schools and was Outreach Director full-time (no pay) at the church.

He served at Friendly almost four years. During this time, I learned that he was a fine person.
He was kind, caring, honest, bard-working, and loved by everyone. He showed consideration for
every person. He did great work, visited the sick, conducted funerals, and was generally helpful
to each person. 1 never knew him to talk badly about anyone. I have kept in touch with him ever
since that time. He has treated me like his mother or grandmother, and I think a great deal of
him. We have kept in touch. through the years. When be and his family would come to
Greensboro over the years, they would come to see me.

Matt and Hope (his wife) are wonderful parents to their two daughters, one a 12-year-old, and
one in coUege. Matt has worked on being a great parent. (Jlis own mother left the family and
remarried when Matt was in his late teens. I believe.) The children are amazing - very talented.

Matt is not only a great father, but he is a great minister to those he serves. He always visits
them in the hospital and does everything he can to help them. Even though he has had a serious
physical ailment for many years, he never complains. Instead, he is quick to respond to those
who are sick. I visited a lady yesterday who had surgery at Duke Hospital in Durham recently.
She told me how Matt was at the hospital before her surgery to pray with her and encourage her
family members. Sbe broke down and cried as sbe was talking. She apologized for crying, but
said she felt strongly about how kind Matt was to her, and that it made her cry.
   Case 1:24-cr-00291-LAK       Document 75-1         Filed 02/19/25   Page 36 of 93
                                                                                       032



                                         Page2




Matt is always available when someone needs him. Wthin the last month, an elderly
man who was very sick asked a relative to call Matt to come. The relative (a niece) told
me that he was there a few minutes tater. The man was dying and wanted Matt 1o
conduct his funeral. Matt prayed with him, talked with him, and a few days later,
conducted the funeral, as requested.

The daughter-in-taw of a shut-in couple asked me to 1elt Matt the couple were anxious
tQ talk to him. I contacted him, and he went to see them. A few days later, the lady
died, and Matt conducted her funeral. They were most grateful. The shut-ins all love
him, and many want him to visit and help them plan their funerals.

I am one of those people who would like to have him speak at my funeral. I am 96
years old, so I anticipate that it wilt not be long until I need him! My husband was an
attorney, who often tried cases in federal court here in GreensboroT as well as in state
court. My son and his wife are attorneys here now.

Thank you so much for taking the time to read th~ letter about Matthew Queen.


                                         Sincerely,




                                         Doris J . Henderson
     Case 1:24-cr-00291-LAK       Document 75-1      Filed 02/19/25    Page 37 of 93
                                                                                       033
                             DEPARTMENT OF THE ARMY
                       HEADQUARTERS, 3rd Battalion, 323rd Regiment
                                2190 Winterville Road
                               ATHENS, GA 30605-2139




                                                                                  NOV 24

MEMORANDUM FOR JUDGE KAPLAN

SUBJECT: Character Reference for Dr. Matt Queen


1. I unequivocally write this character reference on behalf of Dr. Matt Queen who I have
known for over four years. Throughout our time together, I have been extremely
impressed and inspired by Dr. Queen’s character, talent, intellect, and dedication to his
family, profession, and local community. Dr. Queen is a man I deeply admire and
respect.

2. After graduating from West Point, I have had the honor and privilege of serving in the
US Army for 17 years in Airborne, Light Infantry, Special Operations, the Joint Chiefs of
Staff, and currently as a Battalion Commander. During my time of service, I felt the call to
pastoral ministry and pursuing a theological education. After finishing a Master of
Divinity, I did extensive research on a PhD program that would best prepare me to
contribute the local church and community I serve in. The program with the best
reputation and impact was clearly seen through the leadership of Dr. Queen. We
established an instant connection through a shared passion of helping those in need.
Additionally, though incredibly accomplished as a scholar and leader, Dr. Queen quickly
showed me how to model true humility and at the same time inspiring me toward being
my best for God and others. He sets the example for others to follow in and outside the
classroom.

3. Along with caring for me as a student. Dr. Queen also took time out of his extremely
busy schedule to serve as a mentor and friend. Over the past few years, there have
been struggles in my life where Dr. Queen literally dropped everything to support my
family and I with counsel, job recommendations, and prayer. To me, that models the
highest forms of character. Though I couldn’t necessarily give anything to him, Dr.
Queen offered his all to me. Dr. Queen will always be a lifelong mentor and friend.

4. Dr. Queen is a leader of character, a consummate professional, and dedicated to
excellence in everything he does. I highly endorse and support this character reference!

5. The point of contact is the undersigned or



                                          BRANDON A. KNOX
                                          LTC, IN
                                          Commanding
      Case 1:24-cr-00291-LAK           Document 75-1         Filed 02/19/25      Page 38 of 93
                                                                                                  034



October 29, 2024



The Honorable Lewis A. Kaplan

United States District Court

40 Foley Square

New York, N.Y. 10007



Dear Judge Kaplan,

I have had the privilege of knowing Matt Queen as both my pastor and friend since 2006. He is truly
the most genuine person I have ever met. As my pastor, Matt has consistently demonstrated his
honesty, trustworthiness, kindness, and love. During his initial time at Friendly Avenue Baptist
Church, he supported my family and me through various challenges, including coping with my
grandmother's illness and passing, and the sudden loss of my cousin to suicide. In difficult times,
Matt was always the first to reach out with encouraging words and to assure me that he was praying
for us and loved us.

Since Matt's departure from Friendly Avenue Baptist in 2010, I have prayed he would return to our
church, allowing me to once again call him my pastor. Over the years, we have primarily stayed
connected through social media. Despite the distance and time apart, receiving an unexpected
word of encouragement from Matt was not unusual. When he accepted the role of our Lead Pastor
in February, I was overjoyed! His return to Friendly Avenue Baptist felt seamless, as if he had never
left. Hearing Matt enthusiastically declare, "I Love You Sister," followed by a warm embrace after
church service always starts my week off on a good note!

Matt's warm, caring, and larger than life personality is truly magnetic. Wherever Matt goes, a large
group of people gathers around him, offering their support and encouragement. His friendly
demeanor draws people in. He openly expresses his love for everyone with a loud and
unapologetic "I Love You"! Whenever I invite friends to hear Matt preach, they immediately feel a
connection, even if they haven't met him before. Even my husband, who doesn't regularly attend
church, makes it a point to be there when Matt, whom he affectionately calls "that country
preacher," is delivering a sermon.

Since Matt's return to North Carolina this year, I have had the chance to connect with him and his
family on a deeper, more personal level. I have walked side by side with them through the
challenges they have faced, sharing both laughter and tears. We've enjoyed meals together,
cheered for college football, and played our favorite board game, Risk. This summer, Matt kindly
offered to check in on my 89-year-old grandmother, being there for her while my family and I
traveled to Alaska. The love and commitment between Matt and his wife is evident making them a
great example of a Christian marriage. His daughters adore him. The Queen family are people you
want to be around and share life with.
      Case 1:24-cr-00291-LAK          Document 75-1         Filed 02/19/25      Page 39 of 93
                                                                                                 035



When I was first learned of the charges against Matt, I was in disbelief. He is truly one of the most
honest and upright individuals I have ever encountered. After speaking with him and gaining a
deeper understanding of the situation, I came to realize that, like all of us, Matt is human and
makes mistakes. Unfortunately, his error was a serious one that was recognized publicly. As a man
of integrity, Matt has openly acknowledged his mistake and is committed to taking full responsibility
for it, ensuring it won't happen again. Despite this misstep, I still regard Matt as one of the most
honest, trustworthy, kind and loving people I have ever known.

Matt consistently exemplifies remarkable integrity, along with unwavering kindness and love for
everyone, even those who do not treat him with kindness and love. He stands strong in his
convictions about what is right, just, and fair, even when it comes at a personal cost. As a loyal
friend, he consistently provides support to those who need it most. Above all, Matt is a devoted
servant of the Lord, living his life in complete obedience to God's calling. Matt Queen is a truly
special person who has made a significant impact on my life as well as the life of my children and
extended family.



Sincerely,




Candice Kislowski



Greensboro, NC 27409
      Case 1:24-cr-00291-LAK            Document 75-1         Filed 02/19/25       Page 40 of 93
                                                                                                     036




Aaron J. Ledford


Greensboro, NC 27410
October 18, 2024


The Honorable Lewis A. l<aplan
Un ited States District Court
40 Foley Square
New York, N.Y. 10007




Dear Judge Kaplan,

My name is Aaron Ledford, and I am writing to vouch for Matthew Queen's upstanding character. I met
Matthew Queen in 2014 when he volunteered as a consultant for the Texas church where I was
employed as one of the pastors. At the time 1 Dr. Queen was employed nearby as a professor at
Southwestern Baptist Theological Seminary and came to our church to train our church members on
how to reach out to our neighbors near the church campus. Although Matt was an expert in his field, his
interactions with our church members were genl..!ine and warm. Rather than telling people how they
ought to think/ Dr. Queen asked questions and allowed people to lea.rn by discovering the answers for
themselves.

I took one of Dr. Queen's classes at Southwestern Seminary in the Fall semester of 2020, when students
were returning to the classroom with COVID protocols in place. Students were socially distanced, and
professors had to teach behind a plexiglass screen. Dr. Queen was so intent on following the rules that
he would move the plexiglass screen from the podium to the whiteboard each time he changed
locations. His effort to move the plexiglass screen around the classroom is a good memory that makes
me smile to this day.

I had always been aware of Matt's tendency to be interested in the welfare of others, but I experienced
his kindness firsthand in 1011. Even though I had finished his class and was not his student anymore,
Matt called me one afternoon to check on me and my family. Unbeknownst to him, I was in the middle
of a professional struggle and his counsel and support were invaluable. I trusted him with the details of
my professional struggle, and he kept those details confidential.

I moved to North Carolina in 2022, and I was delighted when I heard that Matt was moving to be the
pastor of my church In 2024. Once again, Matt showed his care for others. While visiting from out of
town, my father in-law made a late-night trip to the local emergency room which lead to a five-day
hospital stay. Matt was not my in-laws pastor, but he came to sit and stay with us as we waited in the
      Case 1:24-cr-00291-LAK           Document 75-1        Filed 02/19/25       Page 41 of 93
                                                                                                    037




emergency room. He stayed much later than he should have, considering he needed to leave his home
early the next morning to pray with a church member having surgery in a neighboring city.

My experiences with Matthew Queen have shown his humble nature, his proclivity to follow rules, his
trustworthiness, and his genuine concern and care for others. He has told me how deeply he regrets his
actions and has asked forgiveness from God and his family. My pr-ior experiences leave me with no
d " C t he is telling the truth.


Aaron J. Le l d   JdfJ
    Case 1:24-cr-00291-LAK   Document 75-1    Filed 02/19/25   Page 42 of 93
                                                                               038


From: Susie V. Piper




Colfax, NC 27235




November 11, 2024

To: The Honorable Lewis A. Kaplan
    United States District Court
    40 Foley Square
    New York, N.Y. 1007




Dear Judge Kaplan:

I have known Dr. Ma.tthew Queen and his family for at least 20 years. I have
worked with · Dr. Queen ·.on .all · kinds of committees and ministry- preschool,
Sunday school, and evangelism. Jfelt, Dr. Queen demonstrated extraordinary
communication and compassion into his ministry. He always listened to others.
Dr. Queen also delivered wonderful intelligent sermons from the bible which
impacted people's lives.

Matthew Queen's ministry influenced my life. Matt was there for me when my
mother died and later when my husband died. Matt showed great compassion
and kindness and helped me go through the grieving process. Matt is a very
special person showing love, care and concern for others. Matt participated also
in a very joyful celebration for my soth wedding anniversary. Dr. Matthew Queen
lead the church service of my renewing of vows.

I was thrilled when I learned Dr. Matthew QtJeen was returning to Friendly
Avenue Baptist Church to become our senior pastor. In closing I have never
known or observed Dr. Matthew Queen to behave in a dishonest way. I have only
seen Dr. Matthew Queen demonstrate the utmost integrity.

Respectively submitted,

   ~1/P~
     Case 1:24-cr-00291-LAK             Document 75-1          Filed 02/19/25       Page 43 of 93
                                                                                                      039


                                         Jonathan Kelena Okinaga




October 27,2024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. I 0007

Dear Judge Kaplan,

l am writing to you regarding Dr. Matt Queen, whom I have known for the past ten years. I first met Dr.
Queen as a Southwestern Baptist Theological Seminary (SWBTS) student. Over time, our relationship
evolved into that of colleague and friends when I became a professor at SWBTS, a job I still have today,
allowing me to witness the many facets of his character.

Dr. Queen's rare blend of kindness, generosity, and thoughtfulness sets him apart. I recall a specific
instance that captures his spirit: whenever we encountered each other in the hallways, Dr. Queen would
greet me with a warm hug and genuinely inquire about my well-being and that of my wife and son,
something that he did with everyone he wou ld come across. Such a simple yet sincere gesture of care is
not something I have experienced from anyone e lse on campus, making his absence deeply felt. lt is a
testament to the to ing individual he is, always striving to uplift those around him.

His dedication to his family is equally noteworthy. While words cannot fully capture his love for them , it
is evident in how he speaks about them and his time nurturing those re lationships. His commitment to his
family reflects his integrity and moral character, qualities I have always respected. Dr. Queen has faced
significant challenges recently, and J fu lly acknowledge the circumstances surrounding his case. This
solitary error in judgment does not define his person, his contributions to his comm unity here in the
United States. or his endeavors worldwide. He has shown genuine remorse and a commitment to ensuring
that such mistakes will not occur again. I believe in his capacity for growth and redemption.

As someone who has written letters to the courts in the past, I must express my deep concern for Dr.
Queen. My heart aches for him in a way I have never experienced before. Although I now hold a PhD and
could refer to him as ''Matt," I continue to call him Dr. Queen out of respect for him. This respect remains
intact despite the challenges he has faced. I urge you to consider the kind and caring person he truly is
w hen determining his sentence. He deserves compassion and understanding as he seeks to move forward
from this challenging chapter in his life. Thank you for taking the time to consider my perspective on Dr.
Matt Queen. J appreciate your attention to this matter.

Sincerely,

Jonathan Okinaga, PhD
Assistant Professor of Biblical Counseling
Southwestern Baptist Theological Seminary
     Case 1:24-cr-00291-LAK         Document 75-1        Filed 02/19/25      Page 44 of 93
                                                                                             040


The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, NY I 0007


Dear Judge Kaplan,

I am writing on behalf of Matthew Queen, a very close friend I have now had the honor of
knowing and serving in ministry alongside since July 2019. We initially met at faculty colleagues
at Southwestern Baptist Theological Seminary when my family moved to Fort Worth in 2019 and
we served there together until my family moved away in January of 2022. Matt and I also served
together on the pastoral staff at Lane Prairie Baptist Church in Joshua, Texas through much of
2020 until we left in 2022. Since leaving Texas, Matt and I have kept in regular contact and have
prayed for each other, helped each other in ministry situations, and sought advice from each
other. Though Matt and I have only known each other since 2019, we have become very close
due to the proximity of our hometowns, our similar upbringing, our mutual calling in Christian
ministry, and our love for people. Additionally, both of our wives have become close friends and
our children enjoy each other's company as well.

I write to you to express my deep appreciation of and love for Matt, not only as a Christian
minister, but also as a friend who puts the needs of others above his own needs and/or desires.
When my family first moved to Fort Worth, Texas, though I had only known Matt for a few
weeks, he went out of his way, above and beyond what any normal work colleague would do, to
welcome us to the community, help with anything we needed, and show love and concern for my
family as we moved into a new area. Having now worked in five different ministry settings
around thousands of people across four states, I can say without any doubt Matt stands out as the
most humble, sincere, caring, giving, and genuine person I have ever met. He always looks to
help others as much as he can without any concern for any personal needs he may have.

Matt's Christian character is the thing I appreciate the most about him and the thing about him
that makes me envious of him. Though all humans make mistakes, and mistakes indeed have
consequences, those mistakes sometimes define the person and other times do not. Knowing
Matt as well as I do, I have no doubt that his error in judgment to which he has admitted does not
define him as a person. His sorrow and repentance over that error, and his effort to correct the
error, are what define him. Knowing Matt had an error in judgment does not change my opinion
of him in the least. Had he not corrected the error and been deeply sorrowful over it, my opinion
would indeed be different. However, seeing and hearing his sorrow over this action, and having
his word never to act in this manner again, is why I have the opinion of Matt that I do. He is a
good man, a godly husband, an exemplary father, a devoted Christian, and a faithful minister of
the gospel of Jesus Christ. Indeed, knowing of his correction, admission, and sorrow over this
give me an even higher opinion of him than before.

Thank you for taking the time to read this letter of reference for Matthew Queen. I am deeply
grateful for your role in our judicial system and pray God's blessings on you as you continue to
serve in this extremely critical role.

  1Jr /L_______
Travis S. Kerns, Ph.D.
      Case 1:24-cr-00291-LAK          Document 75-1         Filed 02/19/25      Page 45 of 93
                                                                                                 041
                                                               29 November, 2024
The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007


Dear Judge Kaplan,

        I have had the privilege of knowing Matt Queen for 4 years, 2 of which I spent working as his
administrative assistant while he was an Associate Dean. I was still new to Texas when I began
working for him, and he and his family reached out to me and made sure I felt included and
welcome. My friendship with the Queen family deepened as my family and I joined their church and
got to know them on a more personal level.

        I learned a lot from Matt while I worked with him, both professionally and personally.
Professionally, I was able to advance in my administrative career because of the organizational and
communication skills I learned from Matt. His careful attention to detail helped ensure that
students had a positive experience working with our department. Personally, I learned a lot from
Matt’s ability to form genuine connections with and show care to others. He has the unique ability
to know when to focus on getting work done and when to pause work to lend a listening ear or offer
comfort to a struggling student or coworker.

        I have also always admired Matt’s desire to do the right thing at both work and in his
personal life. There were 2 or 3 times during the time period we worked together where Matt
approached me after a situation to apologize because he felt that he did something wrong and was
eager to make it right. For example, one day we had lunch with a group of colleagues and one made
a comment that could have been considered somewhat offensive. I didn’t think any further of it, but
the next day Matt came and apologized to me for not having made it clear to our colleague that the
comment was not okay.

        Doing what is right is not always easy or comfortable, but I have consistently witnessed a
desire in Matt to do what is right and to make corrections or amends when a mistake has been
made in all areas of his life.
     Case 1:24-cr-00291-LAK   Document 75-1   Filed 02/19/25   Page 46 of 93
                                                                               042
Sincerely,




Jessika Sams



Burleson, TX 76028
    Case 1:24-cr-00291-LAK          Document 75-1         Filed 02/19/25      Page 47 of 93
                                                                                               043


                                                                                    January 7, 2025

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
NewYork, N.Y.10007

Dear Judge Kaplan,

I am writing to you on behalf of my friend and former professor, Matthew Queen, as he
approaches sentencing. My name is Rob Collingsworth, and I had the privilege of studying
under Matt at Southwestern Baptist Theological Seminary in Fort Worth over a decade ago.
Since that time, we have maintained a close friendship, and I have come to deeply respect
and admire him not only for his profound knowledge and teaching but for the extraordinary
integrity and kindness he displays in every area of his life.

Matt is, without question, one of the finest individuals I have ever known. While no one is
perfect-and Matt himself would be the first to emphasize his own imperfections-his life
has consistently been a testament to high character, honesty, kindness, and godliness. A
specific example that comes to mind from our time at seminary is his commitment to not
be alone with any woman other than his wife. While some might view such a practice as
overly cautious, Matt's motivation is purely rooted in his desire to remain faithful to his wife
and uphold the highest standards of integrity. This kind of intentionality and thoughtfulness
has been a hallmark of his life, reflecting his genuine commitment to doing what is right.

Over the years, I have also witnessed Matt's compassion and love for the most vulnerable
members of society. One memory that stands out is his regular interaction with a homeless
woman who frequented the corner near the seminary campus. Many would have passed
her by without a second thought, but Matt consistently stopped to speak with her, pray for
her, and offer her kindness and dignity. This was not an isolated act but a reflection of his
larger pattern of loving and serving others in tangible ways.

In many ways, my respect for Matt has deepened in the last couple years. Although I have
limited knowledge of the details surrounding his case, one thing is abundantly clear: Matt
has shown extraordinary honesty and remorse. In fact, his sincerity and humility have been
so profound that he personally apologized to me, even though his actions did not involve or
affect me in any way. This speaks volumes about the depth of his character and his
unwavering sense of accountability.

Matt's response to these circumstances has only reaffirmed what I have always known
about him: his life is not defined by a single mistake but by decades of integrity, service,
and love for others. He is someone who takes responsibility for his mistakes, actively works
to right his wrongs, and strives to live out his faith with integrity in all that he does. If there is
one message I hope to convey, it is that Matt Queen's contributions to his family,
    Case 1:24-cr-00291-LAK         Document 75-1       Filed 02/19/25     Page 48 of 93
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community, and faith have been profound and lasting, and I believe Wholeheartedly in his
potential to continue making a positive impact in the future.

Thank you for taking the time to read this letter. Please do not hesitate to contact me if you
would like further insight into my relationship with Matt or the high regard in which I hold
him.

Sincerely,




Rob Collingsworth

FortWorth, TX76133
             Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 49 of 93
                                                                                                      045
The Honorable Judge Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, NY 10007

Dear Judge Kaplan,

Thank you, Sir, for considering my personal testimony regarding Matthew Queen. It has been one of my greatest
joys and specia l privi leges to have known Matt for more than a decade both as his Pastor and as a fellow-faculty
member here at Southwestern Baptist Theo logical Seminary in Fort Worth, TX. Dr. Queen has been a special gift
of God to many of our faculty and students as he has taught and inspired many of us in a closer walk with God.

During my seventeen years on the faculty of Southwestern Seminary I have taught my students that every Pastor
needs his own Pastor, someone with spiritual maturity, practical wisdom, and depth of discernment; someone
with whom a Pastor can be transparent and vulnerable; someone who can serve as a reliable accountability
partner to rebuke error and as a mentor to encourage godly character development. I have identified quality
Christian men to serve as my accountability partners in each of the three churches I have pastored over my 41
years of ministry. I asked Matt to serve as umy Pastor" and as my accountability partner in my last pastorate
because he fits the profile I defined above. Matt and I actually became mutual accountability partners, and in
the process, we became quite close in our friendship, recognizing one another's strengths and weaknesses. I
suspect few people outside of his immediate family have gotten to know Matt on such a persona l level as I.

Yes, Matt was transparent with me as his former accountability partner that he had lied during an interview with
the federal investigator. Matt also shared with me that the lord soon thereafter began to trouble his heart and
conscience about this lapse of integrity, the deception of his statement, and the disruption of Matt's treasured
relationship with the lord which his dishonesty had created. Matt's relationship with the lord is genuine, very
intimate, and essential to his sense of well-being and confidence in ministry. The stronger the distress of his
conscience became, the more Matt rea lized that to restore his disrupted relationship with the Lord, he had to
take specific ste ps: acknowledge his mistake by taking the initiative to inform the federal investigator of the
error in his prior statement, correct that statement for the sa ke of the truth, and then accept the consequences
of his breach of integrity. Only after Matt had completed each of these steps, he indicated to me, did he
experience the restoration of the inner t ranquility his heart had desperately sought.

Matthew Queen is a good and decent man who made a sign ificant mistake, accepted full responsibility, and then
took the personal initiative to correct. The result of his mistake has been a very painful and costly lesson which,
from our conversations, I am confident Matt would go to great lengths never to repeat.

Again, Judge Kap lan, thank you for th is opportunity to speak in be half of my dear friend, M atthew Queen.

Most sincerely yours,




C   rles A. Stewart, D. Min.
December 13, 2024
                        Mansfield TX 76063
 Case 1:24-cr-00291-LAK   Document 75-1   Filed 02/19/25   Page 50 of 93
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 Case 1:24-cr-00291-LAK   Document 75-1   Filed 02/19/25   Page 51 of 93
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     Case 1:24-cr-00291-LAK           Document 75-1                     Filed 02/19/25   Page 52 of 93
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October 3 J. 2024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Yow· Honor.

r am writing to provide a personal reference for Manhcw Queen.
I first met Matt Queen in the fall of 1997 vvhen we were students at Southeastern Baptist
Theological Sem inary. Since then. he has been a close personal friend. Over the past 25 years. J
have observed Matt in various roles: as a studem. am inister in a local church. and a professor in
a seminary. l have served as President of Cedarvi lle University in Onio since 2013. overseeing
more than I 75 areas of swdy and 6.384 students. I "'·ould like to highlight three character
qualities I have personally observed in Dr Queen.

First, Dr. Queen is the kindest indjviduall have ever met. I fe pays attention to the little
things. ensuring that everyone feels welcomed and included. lle goes out of his way to greet
people, smile. and say hello. Matt's deep care for others sometimes makes it dift1cult for him to
make tough decisions, as he loses sleep over them and feels personally devastated for weeks.
Unlike some who only care about those who can benefit them. Matt genuinely cares for
everyone, including the less fortunate. He has always deeply cared for his students. treating his
role not just as a job but as a call ing to pour his life into others. His genuine love for his students
made him one of the most popular professors when we worked together.

One example ofhis kindness is when v.e frequently went out to eat together. Matt always
remembered the names of the waitstaff and prayed for them when we thanked God in prayer. 1le
treated them with dignity and respect, often remembering their names on subsequent visits. This
small act of kindness had a significant impact on me and is characteristic of how Matt treats
everyone he encounters.




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      Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25     Page 53 of 93
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 The Honorable Lewis A. Kaplan
 October 31. 2024
 Page 2


 Second, Dr. Queen demonstrates humility and repentance. On muluplc occasions. Mau has
 personally reached out to me to request forgiveness for something he said or did. Often. I felt
 there was no need for an apology. but his quickness to repent of even the smallest potential
 offense demonstrates his unusuaJ le,rel of humility. Matt is genuinely unique in his humility,
 repentance. and desire to put others first lIe is not the typical person you would see jn your
 courtroom.

 One example or this is when ~e pJayed a hannh:ss practJcal jok.e on a colleague While many or
 us laughed about it the next day. Man was \'von·icd it might ha\·e offended the person. The
 colleague was surprised that Matt was involved, as he is kno\.\11 tor his consistent kindness. His
 character sets an example that others wan! to follow. This incident shows Matt's teachable nature
 and his conun1tment to learning from his mistakes.

 Third, Dr. Queen seeks to serve others. I have watched how Matt loves his f'arniJy. treatjng hi s
 wife. Hope. with great respect. During this process. one of Matf s primary concems has been for
 his daughters· futw-e. Matt has dedicated his life Lo serving others through the local church and
 educational institutions. He takes time to talk "'~th strangers. encourage them. and share the love
 of God with them. Words fail to fully capture the depth of Matt Queen's character and integrity.
 J assure you that he is as kind. humbLe. and genuine as anyone who has ever stood before you for
 sentencing. lam a very picky individual. and I hove trusted Dr. Queen with the care of my own
 children. As someone who va lues direct and honest input. I can assure you that you will not
 regret any grace you show to Dr. Queen.

 I believe in him so much that I would be happy to testif)-on his behalf personally or speak with
 you on the phone.lfl rna} be of service in an) way. please let me kno\\.

 Kind regards.

~7/.Jk_
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25         Page 54 of 93
                                                                                             050

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007


Yow- Honor:

       My name is Bruce, and 1 am a full-time Computer Scientist and a part-time Family
Ministry Pastor. I am currently pursuing a Ph.D. In Evangelism throug11 Souiliwestem Baptist
Theological Seminary (SWBTS). I am writing to provide a character reference for Matt Queen,
whom I have known since 20 13 when £ started the M.Oiv. program at SWBTS. ln that time, I
have fou nd Matt to be exceptionally kind and gentle. known for his empathy and w1derstanding.

        Recently, Matt made a mistake that does not reflect his true character. While this incident
was unfortunate, I firmly believe it was an anomaly in an otherwise exemplary record of
behavior. Throughout our acquaintance. Matt has consistently demonstrated a genuine concem
for the well-being of others and has contributed positively to my life and the lives of those
around hir11.



                                                                        During that time, Matt
              us                            contt      to reach out    check in on us, pray for
llS, and be a constant somce of encouragement to me and my family. Despite the his busy
schedule and the time demands on him, he          took time for me and demonstrated
compassion and understanding                         That is the depth of Matt's concern and
compassion for the people around him.

        Although Matt stands convicted. Tam confident that he has leamed from this experience
and is committed to making amends. 1 am confident that his remorse is sincere, and Tbelieve in
his dedication to deeply held Christian convictions of personal accountabili ty, growth. and
reconciliation.

        In conclusion, J wholeheartedly support Matt and am convinced thrs mistake does not
define him. l trust that he will continue to be a posi6ve and caring member of the community.

       Please feeJ tl-ee to contact me if you require any further infonnation.




Bruce Gale
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25        Page 55 of 93
                                                                                                051


                                                      Dr Abiodun Oluwasogo Adegoke
                                                      Nigerian Baptist Theological Seminary,
                                                      Ogbomoso, Oyo State Nigeria,
                                                      PMB 4008.
                                                      10/31/2024.

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

I first came to know Matt Queen from a distance in the Spring of 2018 as I relocated from
Nigeria for my doctoral studies at Southwestern Baptist Theological Seminary, Fort Worth,
Texas. Students talk, and generally, among students, Matt is the real deal. He was
straightforward; he never bossed students around, and he was the guy who got everyone to go
and evangelize.
Two semesters later, I sat in class with him as a student in an Evangelistic Preaching Seminar.
That seminar not only influenced me as a preacher, it revolutionized my ability as a doctoral
research student. Of course, leaving class on the first day, I was so overwhelmed with the
minutiae details Matt put into writing a research paper that I forgot and left my car in the parking
lot of the Mathena building where the class was held and began to walk to the chapel. I spoke
with Matt, and said I wanted to drop the class, but he would not let me. He said if I got to this
point by being a diligent student, I would survive (Paraphrased). Your Honor, the research paper
written in the class was the seedbed for my dissertation two sessions later.
In the Spring of 2021, I joined the church where Matt served in an associate role. He was the
same guy. He encouraged the entire body to evangelize the lost, and we would go out together.
He jokingly picked on me when I spoke beyond my allotted time. I waited to take back my
pound of flesh when it was his turn. Just about this time last year, a car dealership sold me a
terrible deal of a car. Matt was the guy who went with me to talk them into doing right by me.
I also served with Matt in the Spring of 2023. I saw him extend the same grace with which he
related to me as a student to other students, modelling for me what a good professor should be
like.
As an observer, a student, a church member, a friend and an assistant, Matt has been consistent. I
have read the case against Matt from my home country, Nigeria since I returned after my
doctoral studies. I have been saddened by Matt’s error in this case and that he stands convicted
by his admission. Still, I can only hope and pray that his error does not define who he is and what
he stands for, nor does it deter the many more good things that Matt will do.
                                                             Very truly yours


                                                             A. Oluwasogo Adegoke
   Case 1:24-cr-00291-LAK     Document 75-1   Filed 02/19/25   Page 56 of 93
                                                                                052


Lifeway                                                                Jimmy Draper
                                                          President Emeritus - Lifeway




October 28, 2024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, NY 10007

Dear Judge Kaplan,
      Thank you for allowing me to provide a letter for your
consideration concerning Matthew Queen who will come before you
for sentencing in February. I have known Matthew since he came to
teach at Southwestern Baptist Theological Seminary in Ft. Worth,
Texas in August, 2010. After my retirement in 2006, I have been
closely connected to the support of the seminary through serving as
chairman of the Board of Visitors and other connections over these
last 18 years.
      It was my privilege to serve as the interim pastor for 14 months

and his wife, Hope, & their two daughters M-
have been very impressed with him and his family.
                                                    &          M
                                                               -
in 2015-2016 of the local church in Burleson, Texas, where Matthew
                                                              attend. I



                     His provision for serving her and meeting her
needs is remarkable and a model of sacrificial love. His two daughters
are beautiful young ladies who represent the excellent training and
love that Matthew and Hope have provided for them as they grow into
young adults. His skills as a friend and as an educator have been
quickly recognized by the seminary in the strong position of leadership
he was given. He is trusted by his peers and followed as an effective
leader.
      I have been with him in church, with his family and in his role at
the seminary. He has been a faithful friend and encourager over these
past fourteen years. He is one of the few people who always leave you
encouraged when an encounter with him is over.
      I am aware that he is currently under conviction for making a
false statement to the FBI. The error he made was quickly corrected



                    Keller, TX 76248-8411
   Case 1:24-cr-00291-LAK   Document 75-1   Filed 02/19/25   Page 57 of 93
                                                                             053


and he has admitted his mistake and has repented of that error. He
certamly will never make that mistake again. I would encourage you to
consider his stelrar reputation and the effective way he has led his life
and ministry. My prayer is that you will find his sentencing to be one
that reflects his lifetime of effective teaching thousands of students
and faithfully caring for his wife                       and the two
daughters who are now remarkable teenagers.
      Thank you for your service and effectively dealing with such
difficult areas of justice over the years. Praying for you as you deal
with this issue in a few months.

Sincerely yours,




Keller, TX 76248-8411
                 Case 1:24-cr-00291-LAK        Document 75-1     Filed 02/19/25        Page 58 of 93
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            Case 1:24-cr-00291-LAK         Document 75-1   Filed 02/19/25        Page 59 of 93
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     Case 1:24-cr-00291-LAK       Document 75-1      Filed 02/19/25    Page 60 of 93
                                                                                       056


                                                                       November 12, 2024



The Honorable Lewis A Kaplan
United States District Court
500 Pearl Street
New York, NY 1 0007

Dear Judge Kaplan,

We have known Matthew Queen for the past twenty years and consider him to be a close
friend. We have always known him to be quick to help anyone in need and ready to stand
for what is right. He has always helped in the community at large and is an example of a
ca ~ ing person. He is a dedicated family man. We have no hesitation in vouching for his
character.

Sincerely,



~~
James Birdwell

Greensboro, NC 27410




8~~
Betty Birdwell

Greensboro, NC 27410
      Case 1:24-cr-00291-LAK         Document 75-1        Filed 02/19/25     Page 61 of 93
                                                                                              057


Dr. Jonathan Baldwin

Greensboro, NC 27410

October 22, 2024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Dear Judge Kaplan,

I have known Matthew Queen as a professor, mentor, pastor, and good friend for over 13 years.
Though I recognize that he stands convicted after a guilty plea, I desire to offer a summary of
some of my interactions with Matt over the years.

I first met Matt at Southwestern Seminary as the professor of my evangelism class. It was a
class that I had little interest in because it was full of assignments that I did not want to do.
However, Matt’s family visited the class one day to bring us homemade fudge, and during this
time his seven-year-old daughter addressed the class. As his daughter spoke to a class full of
students getting ready for ministry, she not only captivated our attention, but I saw the labor of
a loving father. It was during that moment that I realized how caring Matt was and that he
wanted the best for each of his students.

About a year later, my fiancé and I asked Matt to officiate our wedding. We both knew Matt as a
professor and respected his kind nature and love for the truth. He and his wife provided pre-
marriage counseling for us to help us understand the importance of marriage and the
commitment that we were getting ready to make. At the wedding, Matt displayed the same
kindness towards our guests as he does to his family. It did not matter the age or religious
background of the person. He was very loving and personable to each of them.

Over the next 11 years, Matt became a mentor, pastor, and friend to me. As life displayed
challenges and adventures, I knew Matt was only a phone call away. It did not matter what time
zone or country. He would answer, never complain, and help give guidance to any situation. I’ve
seen Matt lovingly stand up for the truth in a room full of people, who had been misguided. I’ve
witnessed Matt quickly repent of his mistakes. But overall, he remained the same person over
the years, always willing to learn, love, and grow. I am very thankful that our paths crossed so
many years ago. He and his family have been a blessing to my family and me.

In Christ,




Jonathan Baldwin
       Case 1:24-cr-00291-LAK                       Document 75-1                                   Filed 02/19/25                Page 62 of 93
                                                                                                                                                  058


Dickey Bryant

Middlesex, N.C. 27557




October 31, 2024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Re: Character Reference for Dr. Matthew Queen

 Your Honor,
 I am writing to you today as a personal character reference for Matthew Queen. I
 understand that the court is now considering sentencing Dr. Queen and I believe it is
 important for the court to understand his character from my perspective as a close
 personal f~iend for over twenty seven years.
-·       .... ·...
I first riiet Matt Queen at Union Chapel Baptist Church in 1997, when he became
employed as the Youth Minister and Music Minister. In 2002 he was called to be our
Senior Pastor.                              . .       · ···
My wife and I are close frienps ~ith fv1att and his family and we think of him as a son.

In my experience, Matt has _consisten~!y d~rp9.nstrated ~qualiti'es such.as honesty,
integrity, compassiqn ar)d d.ed.ic~!iqn;· - ., •s· .r:••:( ... ~··· ·'': -:::~·: · ·........ -.• · t:· •· !· ·'
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After Matt came to our cl'lumh, my wife and ! too!( him to dinner. As we stood lfi·the
waiting line at the resta urant, Matt went up and down the line shanng the gospel. That's
the kind of person Matt is. As a result of this inc1dent and many more like it, he acquired
the name "The Fast Food Prophel" This is a testament-to the man he is.           ·

I am aware that Matt Queen ple_9 gu~ty to the charge of making a false stat~ni-ent to
government officers.He regrets his error, is remorseful and has repented to God for
forgiveness .                  . ,~. =~ ~ .. :,,     ; ' , .. .
Sincerely,
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Dickey Bryant                                                               I
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      Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 63 of 93
                                                                                                 059



The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007


Dear Judge Kaplan,

I first met Matthew Queen around 18 years ago when he was appointed as an Associate Pastor at
my church. During his four-year tenure at Friendly Avenue Baptist Church, he provided unwavering
support to our family, particularly during my mother-in-law's illness and eventual passing. Matt
stood by us throughout this difficult journey.

Since his return to Greensboro, we have reconnected with Matt, enjoying gatherings with him, his
wife Hope, and their daughter ~We also catch up with ~his eldest daughter, whenever
she visits from Texas.

Matt is a devoted husband and father with a profound love for the Lord, which he shares with
everyone he meets. We enjoy going out together, sharing meals, and always laughing together. To
me, Matt feels like the son I never had. Since he moved back to Greensboro, I've learned that he
shares my interests in cards, board games, and especially fishing.

Matt has never met a stranger; he loves everybody! He is strong, caring, humorous, and an all-
around wonderful person.

Sincerely,




Kenneth Carter

Greensboro, NC 27409
      Case 1:24-cr-00291-LAK           Document 75-1         Filed 02/19/25      Page 64 of 93
                                                                                                   060



The Honorable Lewis A. Kaplan

United States District Court

40 Foley Square

New York, N.Y. 10007



Dear Judge Kaplan,

I first met Matthew Queen about 15 years ago when he served as our Associate Pastor at Friendly
Avenue Baptist Church. In that time, he was always a very humble, kind, and caring man. He
moved on to explore other job opportunities, and now is back in North Carolina with us once again.

Matt has always been there for my family. I remember him coming to visit my mother during her
time in hospice. He genuinely cared, always asking about my family and truly listening to our
conversations. He later remembered the details we shared.

Matt has a deep love for God, his family and friends. I've witnessed the strong bond he shares with
his wife and two daughters, who clearly love and respect him in return.

I am so grateful to know Matt Queen and hope he will continue to be a part of my family 's lives for
many years to come.




~Ccut-v
Rhonda Carter



Greensboro, NC 27409
  Case 1:24-cr-00291-LAK         Document 75-1         Filed 02/19/25    Page 65 of 93
                                                                                       061


                               Dr. l<eith E. & Glenda A. Eitel

                                  Youngsville, NC 27596




The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
                cnrr.,
New York . N .Y. 1

Re: Matthew Queen

Dear Judge Kaplan,

The purpose of this letter is to give you some insight into how 1know Matthew Queen in a
personal way. I want to provide some insights that may round out understanding of him
as a person.

                   How I Have Known and Worked with Matthew Queen

My first time to meet Matthew Qu,een was when he was a Master of Divinity {MDIV)
student at Southeastern Baptist Theological Seminary in Wake Forest, NC. In time, he
not only earned that degree but additionally he earned a PhD in evangelism. As I recall.
this was in the late 1990's. Thus, I've known him &/or worked with him in various ways
for 25+ years.

In 2010 I had the privilege of being part of the search team to interview him tor an open
faculty position in the field of evangelism at Southwestern Baptist Theological Seminary
in Ft. Worth, TX. We Invited him to join the faculty. At that time, I was the Dean of the
Roy Fish School of Evangelism & rVJissions. I was the dean he would work under at
Southwestern.

1 did annual faculty review of his teaching performance and his reviews from my
assessments of him were outstanding. Additionally, the student reviews affirmed my
impressions of Matthew Queen. He was outstanding in the classes he had and in the
faculty review process.

He additionally has proven to be a prolific scholarly writer. A perusal of his works
appearing on Amazon.com indicates a sample of the books & pamphlets he has
authored.

~e and I also traveled extensively to various countries to plan for our PhD students that
were doing field work as missionaries. Students would come to these sites to do in
  Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 66 of 93
                                                                                          062


cJass cross-cultural teaching & we would evaluate them with feedback for their growth
and development. I got to know Matthew Queen very well on these journeys as we
roomed and ate together. He was consistently a scholar and outstanding Christian
witness in those informal settings as well as in earlier mentioned formal academic
settings.

To summadze. he has been and still is a tremendous friend to me and to his studentt



                         Specific Character Traits I Have Observed

The most important thing I've observed in his life is that he has a vital personal faith in
Christ Jesus that gives him a sense of purpose and calUng in Ute.. His family Is showing
the same characteristics, likely due to the witnesses of Matthew Queen and his wife
Hope Queen in their home inspiring their two lovely daughters.

His modeling of these characteristics spills over to his work relations, students, and
pastoral ministry positions he has· historically held.

To finalize I wish to simply say I know him well and understand how vital his various
ministry and educational roles are to me and many others.




R ired Dean of the Roy Fish School of Evangelism and Missions
 nd Professor of Missions and World Christianity
Southwestern Baptist Theological Seminary Fort Worth, TX




Ms. Glenda A. Eitel
           sterad Nurse RNC
              Case 1:24-cr-00291-LAK         Document 75-1       Filed 02/19/25      Page 67 of 93
                                                                                                     063
                                                                                                November 3, 2024

Monica Flippin

Cleburne, Texas 76031


The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, NY 10007


The Honorable Lewis A. Kaplan:

I have had both the privilege and honor of knowing Matthew Queen since he became a member of our church
Lane Prairie Baptist in Joshua, Texas, in November 2018. Since I have also been a student at Southwestern
Baptist Theological Seminary since 2018~ I was familiar with his name and impeccable teaching reputation.
Once our families started to become more acquainted and when he became our evangelism pastor. I understood
that this man is a passionate servant of God and of the church. His calling in life as a devout follower of God is
to share the good news about Jesus with anyone that the Holy Spirit gives occasion for him to engage. He is a
studied man of the Bible and faithful in prayer, and he has an unwavering love and devotion to his wife and
chi ldren. Although he is highly educated and exceedingly knowledgeable and wise, he is also one of the most
down-to-earth, friendly, and relatable people J have ever had the opportunity to know. If there is something
within his scope of position or authority, he will extend lris assistance and go above and beyond to reach out to
people in church and in ow· community. I have benefitted from his teaching in our church both in a classroom
and in practical settings. He has always interacted in a professional and respectful manner.

Over the years, our families developed a close relationship with the Queen family. We have shared numerous
meals together, and we h ave joined in multiple celebrations of our children's experiences. He has a wide range
of skills and talents and has encouraged my daughter in her educational pursuits and in my son's musical
aspirations as a drummer. Even in fatigue or sickness, his attitude remains cheerful and courteous. He has a
witty sense of humor, and we have laughed together over many recounted life stories. He is a trustworthy
friend.

Despite the hardest of situations, I have wjtnessed Matthew Queen display humility and grace and a steadfast
faith in God. It is my honor to be able to commend this man and his character.

Sincerely,
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25     Page 68 of 93
                                                                                              064


From: Ricky Fuchs

Burleson, TX 76028



11/08/2024

To: The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Re: Matthew Queen

Your Honor:

My name is Ricky Fuchs, and I have known Matthew Queen since late 2018 as a church
member, a staff member, and a friend. Matthew and his family joined the church where I was
Student Pastor in early 2019, and in June of 2021, the church called me to be the Lead Pastor.
Having seen his love for the Lord, his faithful service to churches, and his godly character, I led
the church to bring Matthew onto our pastoral staff as our Associate Pastor of Evangelism in
August 2021. Over the years, he and I formed a deep friendship that extended beyond work
and ministry. Our families spent time together, shared meals, and visited his daughter in college
after Matthew and his family moved back to North Carolina.

Matthew’s godly character has always encouraged and challenged me. One might often think
that character equals perfection, but it does not. The Lord Jesus Christ is the only perfect one
who has walked upon this Earth. Character is often defined as doing the right thing, even when
no one is looking or when it is difficult. I have observed Matthew to be a man of character as he
ministered to hurting church members, spoke hard truths to those who were not walking in
integrity, and owned up to his mistakes—not just when others pointed them out, but even
when he knew his actions were not honoring to God.

Matthew has shared with me what he has done, sought forgiveness from the Lord, others, and
myself—as his pastor, boss, and friend. I have forgiven him, still count him as a friend, and
know that Matthew is still a man of character.

Thank you, Your Honor, for taking these thoughts into consideration as you deliberate on his
sentence. I am available to provide any further support Matthew may need.

Sincerely,
         Case 1:24-cr-00291-LAK        Document 75-1        Filed 02/19/25     Page 69 of 93
                                                                                               065


                                                          November 11, 29024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Dear Judge Kaplan,

This is a letter of support for Dr. Matthew Queen. My wife and I have known him since 2008. He
was hired that year to the Ministerial Staff of Friendly Avenue Baptist Church, Greensboro,
North Carolina as an Associate Pastor where our family have been members since 1972. He had
previously been a pastor of a small church in Wake County, North Carolina and recently a
graduate of Southeastern Baptist Theological Seminary.
His character and dedication to the Lord had a significant and positive effect on our church. He
was immediately accepted by the members of our church. He was and is a positive. caring and
loving person as he openly expressed his love for you ..
In 2012 then Reverand Queen was called to teach at Southwestern Baptist Theological
Seminary. Subsequently, I believe in about 2021, Friendly Avenue Baptist Church found it
necessary to call a new pastor and in early 2024, when the Search Committee announced Dr.
Queen as the candidate, the response was unanimous.
IN summary as stated above Dr. Matt Queen is a caring and loving person dedicated to our Lord.
Outside of our Lord and our family, we don't know of anyone we love more than Matt Queen.

1~1, f1 4rt~1/
Herbert A. Smith

 /841~
Betty F. Smith



Greensboro, NC 27410
The Honoro..ol~   Lewis A~ KCLpla.o
          Case 1:24-cr-00291-LAK Document 75-1 Filed 02/19/25 Page 70 of 93
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             Case 1:24-cr-00291-LAK    Document 75-1     Filed 02/19/25    Page 72 of 93
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   The Honorable Lewis A. Kaplan United States District Court
   40 Foley Square
   New York, New York I.0007

   25 October 2024

   RE: Character Reference for Matthew B Queen

   Dear Judge Kaplan:

  This is Philip 0 Hopkins, professor of missions at Gateway Seminary in Ontario, California. l
  have PhDs from Southeastern Seminary in Wake Forest, North Carolina and from the University
  of St Andrews in Scotland, United Kingdom. I have known Matt for almost 30 years.

  I first met Matt in January 1997 while we were in seminary. We are quite dissimilar. He is
  extroverted. I am introverted. He is from the American South. 1 am from New England. He is
  naturally outgoing. I am naturally shy. He has people skills I only wish l could have. Even with
 these differences, we connected with the same group of people and became friends to the point
 that we were in each other's weddings. We have maintained our friendship even though our
 career paths have led us apart.

There are few people that are as genuine and as kindhearted as Matt. I noticed this while we were
working on PhDs together, and while he worked as a minister in a couple of churches, and while
he was a professor. Even after he developed a serious illness and his wife, Hope, was diagnosed
with                   he focused on others over himself. He always listened in a way that you
knew he cared.

Matt has pled guilty to a crime. His actions are out of character with the person that 1 know, a
person who has exemplified the best parts of the Christian faith for as long as I have known him.
I ask Judge Kaplan to take this into consideration during the sentencing process.

Sincerely,



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               Case 1:24-cr-00291-LAK                 Document 75-1            Filed 02/19/25           Page 73 of 93
                                                                                                                            069

                   FIRST BAPTIST
                  O'FALLON
                                                                                             October 30, 2024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007



Dear Judge Kap lan,

My name is Brandon Kiesling and I have known Matthew Queen for over 14 years as both a professor, mentor, colleague, and
personal f riend. I was also his personal assistant for th ree of t hese years w hile studying at Southwestern Baptist Theological
Seminary in Fort Worth, Texas. I was both t roubled and surprised t o hear about his recent case as he has always been a man of
upright character. It is for this reason that I am happy to write t his letter of recommendation for Mr. Queen regarding this
matter.

In all of my dealings with Mr. Queen, I always appreciate his personal integrity and careful attention to doing what Is right, w hich
is not always t he easiest path to wa lk. He genuinely cares for each Individual he meets, to include family, friends, co-workers,
students, but also each stranger he encounters. His love for others Is a testimony to his deep comm itme nt to the Lord, Jesus
Christ, and the Holy Scriptures. I have personally witnessed Matt Queen's compassion for others and he has encouraged me to
be a better person. Of all the people who have poured into m e, M r. Queen is at the top of my list. The impact that he has made
on my life and ministry will continu e to have a long-lasting effect on people for decades to come as I co ntinue laboring in
ministry.

It is my hope t hat you will t ake note of my letter of recommendation for Matthew Queen as you consider his case. M atthew
Queen is a good friend, an Incredible husband and father, and a man of God who is co mmitted to th e work of ministry.



Sincerely,




zLQ_~
Brandon Kiesling
Associate Pastor of Gospel Proclamation
First Baptist Church, O'Fallon




                                                O'Fallon, MO 63366
      Case 1:24-cr-00291-LAK           Document 75-1             Filed 02/19/25   Page 74 of 93
                                       DANIEL KIM                                                   070
                                  • J ERSEY C ITY , NJ 07310 •




The Honorable Lewis A. Kaplan
United States District Court
500 Center Street
New York, NY 10007




November 4, 2024




Dear Judge Kaplan,


        My name is Daniel Kim, and I am currently a finance professional and U.S. Army Reserve

Chaplain. From 2017 through 2020, I pursued a Master of Divinity from Southwestern Baptist

Theological Seminary in Fort Worth, Texas where Dr. Matthew Queen was one my professors. During

my time at seminary, Dr. Queen was both a mentor and friend, and I am grateful for his place in my life.

        As a professor, Dr. Queen was patient, caring and dedicated to his students. I had the pleasure

of taking two courses with him, one on evangelism and the other on preaching, both times with small

class sizes and ample opportunity to interact. When I think of Dr. Queen, top-of-mind is his smile and

friendly nature. Dr. Queen was ever the optimist, and he was always willing to make time to sit down

and chat 1-on-1 if requested. This was especially important for me at the time, as I was uncertain what

direction I would go post-seminary. When an opportunity arose to engage a mentor for a separate

course, I asked Dr. Queen if he would be my mentor for the semester. Dr. Queen gladly obliged, and

over the course of that semester he listened, helped me process my thoughts, and provided invaluable

advice and encouragement, much of which I carry with me to this day.




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      Case 1:24-cr-00291-LAK             Document 75-1             Filed 02/19/25   Page 75 of 93
                                         DANIEL KIM                                                   071
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        Outside the classroom, Dr. Queen led the seminary’s evangelism effort to the local community

around campus. I was a regular participant and partner with Dr. Queen, engaging our campus neighbors

by offering to share with them what we knew of Jesus of Nazareth, as well as pray for them as they had

need. Our practice was to go door-to-door, once per week for an hour or two, and over the course of

our efforts, I saw Dr. Queen’s care on display. Always gracious, even in sometimes tense situations, Dr.

Queen cared for people, including those he didn’t know. On one visit, we met an older man who had

been diagnosed with a terminal illness and was estranged from his immediate family. Even so, this man

enjoyed discussing matters of faith and seemed happy to interact with us, so Dr. Queen made it his

priority to continue to follow up. Unfortunately, over the following year, the man’s health continued to

deteriorate until he passed away. But it was Dr. Queen who shared the news with me; he had

ministered to this neighbor of ours until the very end.

        In closing, Dr. Queen made a meaningful impact on my life, not merely as a professor, but as a

mentor and friend, one who I’ve had the privilege of observing up-close and serving alongside. I am

confident that though he stumbles, Dr. Queen will carefully reflect on his actions, remain in contrition,

and respond in hope. I believe a wiser Matthew Queen has much good to offer our world, and I am

excited for the positive changes he will make, both in his personal life and for the benefit of his broader

community.




Sincerely,




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      Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25     Page 76 of 93
                                                                                               072


                                      Burleson, TX 76028


                                        October 28, 2024


The Honorable Lewis A. Kaplan
United States District Cowt
40 Foley Square
New York, NY 1 0007

Re: Matthew Queen

Dear Judge Kaplan:

It has been my privilege to be acquainted with Matt Queen since the Fall of2010. As a
physician, I have had the opportunity to serve him as his personal physician. ln that process he
also became a trusted friend outside of the clinic where I work.

As his healthcare provider 1 have seen Matt through numerous health challenges and observed
him in good times and those not so good. Matt has consistently responded to my counsel with
grace and humility~ things not often seen in many patients. It l1as also been my privilege to care
tor his wife and daughters on occasion. In each of those encounters r have seen the maturity and
security that these women have exhibited as a reflection of the family ties and values that Matt
has encouraged in the home. This is something that is not often seen in many ofthe patients and
families that I've cared for over the years.

Matt has not only been a patient, but he has also been a friend. We have been together on
numerous occasions over a meal, and be bas provided counsel to me personally in the realm of
church, family, and interpersonal relationships. This is something I' ve cherished and valued over
the years.

Matt has always been a cheerful, fi·iendly, caring, gracious, and genuine person in evety
encounter l've bad or witnessed. He was my patient, and he remains a cherished friend.

Sincerely,




Burleson, TX 76028
             Case 1:24-cr-00291-LAK        Document 75-1        Filed 02/19/25      Page 77 of 93
                                                                                                     073




October 28, 2024

The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007

Re: Dr. Matthew Queen

Dear Judge Kaplan:

With honor and humility, I am writing on behalf of Dr. Matthew Queen. First meeting Matt in 1999, I can
personally attest to his meek and genuine character. As a classmate in the same Ph.D. seminary program, I
witnessed his thoughtful and caring interactions with peers and instructors. Matt taught Master’s level
courses, and he and I even attended each other’s dissertation defenses; the memory of him knocking over
the professor’s cup before he began is forever seared in my mind! As a friend who had also experienced
the demands of juggling a graduate program while raising a young family, I empathized with his anxiety.

I always considered Matt conscientious and trustworthy. While serving as the Senior Pastor at a North
Carolina church, I trusted that Matt would honorably communicate biblical wisdom, so I invited him as a
Sunday morning guest speaker. Furthermore, he and I attended conferences together, and his character was
always consistent with the principles he espoused. I never observed red flags of unethical or immoral
behavior, and with all the time he and I spent together, it would have been difficult to hide a nefarious side.

In addition to our collegial and professional relationship, I consider Matt a dear friend. Together with our
wives, we have laughed together, shared meals together, and served communities together. I wouldn’t
hesitate to continue our twenty-five-year friendship and have willingly answered the call to provide
firsthand examples of my positive interactions with Matt.

Thank you for allowing me to commend Dr. Matthew Queen, a man with a precious family, a man of
integrity, a man of deep faith, and a man I’m proud to call a friend. It would be an honor to speak further
on Matt’s behalf if necessary.

Sincerely,




Dr. Bobby Lewis, Jr.

Knoxville, TN 37931
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 78 of 93
                                                                                               074


The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, N.Y. 10007

Dear Honorable Judge Kaplan,

I am writing this letter to you as a character witness for my dear friend, Matt Queen, who will
appear before you for sentencing. I believe it is vitally important to provide a perspective on his
character and the positive impact he has had on not only those around him but specifically in my
own life.

I have known Matt for five years, and during this time, I have come to know him as a my
professor and close friend. Matt is a compassionate, kind, and reliable individual. He has always
been someone who puts others before himself. Whether it be in classroom or on a personal level,
Matt has always offered support and assistance immediately whenever he can. Having had the
privilege of seeing Matt interact with students, pastors, and even higher staffed individuals in our
denomination he always remained consistent in treating everyone as equally as important as the
other. Matt is the reason I am in the ministry today. His love for people and genuine care for
others’ wellbeing is truly contagious.

I am aware of the circumstances that have led to this current situation in Matt’s life. While I do
not condone any actions that may have taken place, I truly believe with every fiber of my being
that Matt is not defined by this current moment. His lifelong legacy as a husband, a father, a
pastor, and a professor as built upon the type of Christian character that is found in the Bible.
Through all his educational rigor and his devotion to the Lord, Matt is a learner. I know Matt has
always been committed and even more so now committed to making any and all positive
changes in his life. Even now, I believe that Matt deserves the opportunity to further demonstrate
this commitment.

In addition to Matt’s wonderful character, Matt has been one of the greatest assets in my life.
When my wife and I conceived our first child, Matt was one the first people to pray over my wife
and me. When going through a time of discouragement Matt was there to encourage me and be a
beacon of light in the darkness. Only through the love and compassion that Matt has shown me
and so many others could he earn the respect of his colleagues and rise to the high positions of
leadership he has held.

I respectfully and humbly ask you to consider the entire person that Matt is and the shame and
embarrassment he and his family have endured. I have the utmost confidence that, given the
chance, Matt will continue to grow in learning from his mistake and be a positive influence on
those around him.
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 79 of 93
                                                                                               075


Thank you for taking the time to read this letter. I genuinely hope that you will consider a
sentence that is merciful and gracious for Matt and his family.

Respectfully,

Cameron McCarley



Anderson SC 29625
     Case 1:24-cr-00291-LAK          Document 75-1         Filed 02/19/25      Page 80 of 93
                                                                                                076


Dear Judge Kaplan,                                                           October 29, 2024



Thank you for your willingness to listen to the written testimonies from the people who know
Mr. Matthew Queen well. My heart sank when I heard of the guilty plea of Mr. Queen.
Nonetheless, I reflect upon my friendship with him fondly and with gratitude. I have known Mr.
Queen for just over 10 years, the last 7 of those quite closely with him as my doctoral supervisor
until his indictment. I believe two words sum up well my impression of Mr. Queen from the
decade of knowing him: genuine care.

I was first got connected with Mr. Queen at the end of the journey for my Master of Divinity
degree at Southwestern Baptist Theological Seminary. My Baptist Heritage professor connected
me with Mr. Queen to talk about my research paper topic. Although Mr. Queen had been a fan of
Mr. Scarborough, the second president of the seminary, while I was interested in writing about
Scarborough’s rival, Mr. Queen was still more than willing to help me. He pointed me to the
Arlington Baptist College (now Arlington Baptist University) and a lady named Vicky Bryant,
who proved to be of immense help to my research. My paper for that class received an A partly
due to Mr. Queen’s help.

As the years went on, Mr. Queen continued to look out for my interest whenever the opportunity
arose. Two years after my initial conversation with him, we reconnected over my interest in
returning to the seminary for a doctorate degree. He spent about two hours with me listening to
my areas of interest and providing me with guidance.

Soon after my two-hour meeting with Mr. Queen, I remember receiving a phone call from him
one day. He informed me of a position available at the seminary that would allow me to be in
close contact with the president of the seminary at that time. To my knowledge, Mr. Queen
would gain no benefit from informing me of the position. His reasoning was that such a position
would allow me “unfettered access” to the breadth of theological knowledge from the seminary’s
president since he knew of my interest in furthering my pursuit of theological knowledge. Again,
Mr. Queen cared about my interest.

Many times during my journey as a doctoral student under his supervision, Mr. Queen provided
me references and letters of recommendation whenever I needed them, as often as I needed them.
He provided these things for me when I applied for ministry positions and for scholarships. He
provided them for me whenever I asked him to and voluntarily. I remember how two or three
times he would inform me that he had submitted my name to someone in the seminary or outside
of the seminary for a position because he thought I was a great fit for it. At least once or twice, a
church contacted me to see if I would         be interested in a position because the pastor or
representative of the church talked to Mr. Queen, who highly recommended me. He made these
recommendations of his own accord because he knew me well. He knew my heart for serving
God and he genuinely cared about me.
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 81 of 93
                                                                                              077


Something he had been doing out of good will for me most recently, which I had not realized
until he was no longer my supervisor, was the painstaking effort he took to edit my dissertation
chapters (as well as his inputs on all my Ph.D research papers). Truth be told, Your Honor, if I
had shown to you the master’s level paper that initially connected me with Mr. Queen and have
you compare it with my Ph.D writing from today, you will immediately be able to tell the work
of Mr. Queen in my life. My writing used to be horrid and Mr. Queen has dramatically improved
it. In terms of editing the chapters of my dissertation, Mr. Queen used to examine not just the
arguments but also the writing style, the grammar, the spelling, the formatting, and the footnotes.
For context, my current doctoral supervisor, who took me under his care since Mr. Queen’s
indictment earlier this year, only examines the argumentation of my chapters and leaves hardly
any note. When I sent a 44-page chapter to a professional editor this summer, I finally realized
what a tremendous favor Mr. Queen had been doing for me. The editing bill came out to be over
$200, which is a lot for a doctoral student working part time as the sole source of income with a
wife and young child. When my current doctoral supervisor explained to me the benefits of
utilizing a professional editor, I understood the reasons behind Mr. Queen’s painstaking editing
work for me. I was told that a professional editor can help ensure my success at the defense of
my dissertation, removing any distractions from my arguments or objections from my readers
over silly mistakes in my writing. Mr. Queen was doing extra work for me in order to ensure my
academic success.
Lastly, and please pardon me for slightly going backward in time, when I needed an extension
for my doctoral degree, Mr. Queen vouched for me. I applied for the extension and Mr. Queen,
who had already taken the pastorate position in North Carolina but still employed by the
seminary (he was not yet indicted), emailed the seminary and encouraged the school to grant the
extension. At the moment of writing, I have just begun working on the conclusion chapter of my
dissertation. I am able to bring my Ph.D journey to an end today because of the work and
genuine care of Mr. Queen.
Although my heart truly sank upon hearing about Mr. Queen’s plea, I do reflect on the friendship
with gratitude while writing about these 10 years of knowing him. He has always told us, his
students, to “stay close [to Jesus] and clean,” so I know that this mistake will weigh on his heart
forever. I truly appreciate you taking the time to listen to these letters, Your Honor.




Alex Ng

Fort Worth, Tx 76115
Case 1:24-cr-00291-LAK           Document 75-1        Filed 02/19/25       Page 82 of 93
                                                                                             078




                                                        Tuesday 12th November 2024

 The Honorable Lewis A. Kaplan
 United States District Court
 500 Pearl Street
 NewYork, N.Y. 10007

 Dear Judge Kaplan,

 Thank you for taking time out of your busy schedule to read about my relationship with
 Matthew Queen. Matthew Queen has been one of my seminary professors for five years.

 I first met Matthew Queen in November 2017 when I was previewing Southwestern Baptist
 Theological Seminary with my parents as a potential school for me to enroll in. As tears
 filled my mother's eyes when she knew I would move seven hours away from my home in
 Memphis, TN, to attend this seminary, Matthew Queen told her, "I will take good care of
 your son." I can thankfully say that during my two-and-a-half years at Southwestern,
 Matthew Queen did indeed take care of me.

 As my professor, Matthew Queen instilled in me the values of hard work, honesty, and
 integrity. As my friend, Matthew Queen made me feel valued as a young man striving to
 help my community. Not long after I enrolled at Southwestern, I soon realized how many
 other students and professors respected Matthew Queen. I was grateful to see this
culmination when a number of doctoral students voted him "supervisor of the year" in
August 2022.

Perhaps one of the greatest influences Matthew Queen had on me was when I sought his
wisdom on how to pursue a relationship with my future wife. As long as I have known
Matthew Queen I have felt his love toward me, his students, and family. I would not be the
minister, husband. and soon-to-be father next Spring without the mentorship of Matthew
Queen. Again, thank you for your time.

Sincerely,

Perrin Jones

Perrin Lane Jones Ill
     Case 1:24-cr-00291-LAK           Document 75-1        Filed 02/19/25      Page 83 of 93
                                                                                                079


The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, New York 10007

Re: Matthew Queen

Your Honor,

My name is Seth Polk, and I am a pastor in West Virginia. I first met Matthew Queen (Matt) in
the late 1990s in seminary in North Carolina. Early on we made acquaintance and were cordial
friends through seminary. Matt was known as a conscientious and caring student and as a friend
to many. I never heard him speak an unkind word to or about anyone and he was widely loved
and respected for his consistent character.

Life took us in different directions, but we maintained friendly and periodic communication over
the years and would see each other at various denominational events on occasion. His reputation
continued to be stellar, and he continued to be known as a faithful friend and dedicated family
man. His wife and sweet daughters are wonderful people.

In 2016 I was considering pursuing a PhD program and knew that Matt was at Southwestern
Seminary in Fort Worth, Texas. I explored the program and ultimately was accepted and began
studies. With the structure of the program, I took several PhD seminars with him. Ultimately, he
was my doctoral dissertation supervisor and I graduated in 2020.

Having known Matt Queen now for more than 25 years as a personal friend and in a professional
capacity, he is the same person I knew when I first met him. He is conscientious, caring, and
very concerned about others and widely known and respected. I have had countless
conversations with him, traveled internationally with him, learned from him academically, and
he has always been steady and unwavering.

The situation at hand is a regrettable one. I do not pretend to know all the details and I do not
envy your position, Your Honor. I believe Matt has fully recognized his error, and seriously
taken responsibility for it. I am certain in the role you are in, that you operate with wisdom, and
the utmost consideration of all factors. With this, I would simply ask that you take all factors into
consideration and extend mercy to Matthew Queen which would greatly benefit his family as
well. I believe he will be a stellar and responsible citizen moving forward.

Sincerely,

JdA7l~
Seth N. Polk
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 84 of 93
                                                                                             080


From:
Edward A. Rich IV




To:
The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York~ NY 10007

                                                                           6 January 2025
Dear Judge Kaplan,

 l am writing to offer my full support for Dr. Matt Queen, whose influence has deeply impacted
 my life in countless ways. I have had the privilege of knowing Dr. Queen both as a professor and
 a mentor, and I can speak with confidence to his remarkable character, his profound love for
 God, and his genuine care for others.

 I first encountered Dr. Queen during an evangelism course in my Master of Divinity program at
 Southwestern Baptist Theological Seminary. From the moment I met him, it was evident that his
 passion for the Gospel, for ministry, and especially for people was central to everything he did
 His Love for God and others radiated through his teaching and actions. Inspired by his example, l
 sought an internship at Lane Prairie Baptist Church, where Dr. Queen served as staff evangelist.
 It was there that 1 had the honor of witnessing his ministry firsthand and learning from his
  example of faithful service.

  What stands out most about Dr. Queen is his genuine and unwavering care for people. Wbether
  in a professional or personal setting, he always makes time to connect, offering a kind word and
  listening ear. His smile, his attentiveness, and his genuine concern for others' well·being have
  made a lasting impact on me. His combination of character and compassion is rare, and he
  consistently demonstrates love in a deeply heartfelt and authentic way.

  On a deeply personal note, Dr. Queen's mentorship had a profound influence on me during a
  challenging time in my life. My family experienced three tragic deaths in a short petiod, and Dr.
  Queen's teachings and example of administering the Gospel gave me the strength and guidance l
  needed. I was able to minister to cousins, uncles, siblings and other family members, including
  sharing the gospel with my uncle, who passed away shortly after his wife tmgically died in a
  hospital parking lot while visiting him. This series of events had a protbund, genemtional impact
  on my family, and Dr. Queen's wisdom and lov~ hc lp~d shnpt! how I ministered during that time.

  Dr. Queen also personally mentored me in preparation for pertbnning my grandmother's ftmeral
  service. Though he had never met her, he made sure she was laid to rest with dignity, through the
    Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 85 of 93
                                                                                             081


lens of C hrisfs love and ministry. His involvement in this deeply personal moment was
incredibly meaningful and a testament to his commitment to serving others in all circumstances.

Beyond the classroom and family crisis. Dr. Queen 's intentional dtscipleship and hands-on
ministry have greatly shaped my own approach to evangelism and service. I witnessed his gift
for evangelism firsthand during a mission trip to Manor. Texas. where he worked with a new
church plant and engaged the surrounding community. It was a powerful display of his
dedication to s preading the Gospel and making a lasting impact on those who heard it

This mission trip, along with his books and many other ministnes. are JUSt a few examples o f Dr.
Queen's unwavering commitment to the Kingdom of God. His work bas led countless
individuals to make life-changing decisions to follow Jesus Christ. Through hts leadership, many
have come to know the hope of the Gospel and the transformative power of Christ's resurrection

I firmly stand behind Dr. Queen, not only because of the impact he has had on my life and
ministry or his professional achievements, but because of the integrity, love. and faithfulness he
consistently demonstrates in every area of his life.




~~~?
Ed,vard A. Rich IV
    Case 1:24-cr-00291-LAK            Document 75-1          Filed 02/19/25       Page 86 of 93
                                                                                                    082




To
The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York. N.Y 10007

                                                                                         6 January 2025

Dear Judge Kaplan.

1 am writing to share the profound impact Dr. Queen has had on my life. I first met him while he was a
professor at Southwestern Baptist Theological Seminary, where he taught Evangelism. What began as a
student-professor relationship quickly grew into a meaningful friendship and mentorship, especially after
our families became members of Lane Prairie Baptist Church, where Dr. Queen served as an staff
evangelist.

I served in the Air Force for nearly 21 years before retiring and feeling called into ministry.! pursued my
studies in Biblical Counseling at Southwestern, where I faced the challenges oftransitioning from a
military to an academic environment. I was unprepared for the academic demands and struggled early on,
but Dr. Queen's support made all the difference. As one of my first professors, he went out ofrus way to
ensure that students like me dido 't fall behind. He dedicated an entire class day to helping us understand
writing expectations and academic requirements-something no other professor offered. Dr. Queen is the
type of person who notices when students are struggling and takes time to help, no matter bow busy he is.
Dr. Queen briefly served as acting provost during a difficult time at Southwestern, a role that came with
heavy responsibilities. Despite the pressure, he always put others first, working tirelessly to improve the
culture at the seminary and restore its reputation. He genuinely cared about his students and their well-
being.

1 am deeply grateful to have known Dr. Queen . Without his mentorship, I might have left Southwestern
dw·ing a difficult time in my life. Instead, l persevered and graduated in May 2024 with double majors in
Biblical Counseling and Theological Studies.

Since graduation, my husband and I have begun serving in ministry in Alaska, a mission field with great
need. The community faces many challenges, includ1ng addiction and a harsh environment. Though the
work ahead is difficult, I am confident that the lessons I learned from Dr. Queen about selfless service,
perseverance, and faith have prepared us well for this ministry.
I pray for you, and everyone involved in this case, trusting that God will guide your decisions.


In Christ,

Ke~
(R) SMSgt, USAF
 Case 1:24-cr-00291-LAK         Document 75-1        Filed 02/19/25     Page 87 of 93
                                                                                         083




The Honorable Lewis Kaplan
Unites States District Court
40 Foley Lane
New York, NY 10007

We are writing this in regard to Dr Mathew Queen. We have known Dr Queen and
his family for seventeen years, when he was Associate Pastor at Friendly Avenue Baptist
church, and now Pastor. He is a caring and compassionate pastor who loves his people.
We, recently, and unexpectedly, lost our daughter, and he was there for us in every way,
and continues to be so even with his troubles. He is truly loved by all, We feel like this
was a mistake in his life, which he has acknowledged, and deeply regrets, and will never
happen again.

Respectfully Yo~
l(J~ /'1~
~J.~
Charles and Bobbie Roberts

Greensboro, NC 27410




Oct 26, 2024
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25      Page 88 of 93
                                                                                               084


The Honorable Lewis A. Kaplan
United States District Court
40 Foley Square
New York, N.Y. 10007


Dear Judge Kaplan,
        My name is Ben Sutton and I personally know Matthew Queen as one of my professors,
mentors, and friend. Matthew Queen had the reputation around my seminary’s campus as the
professor who was incredibly kind, full of integrity, loved the Lord, and always went out of his
way to make each student feel welcomed and cared for. Before I knew Matthew Queen, I would
hear students talk about how he was one of their favorite professors. I had heard a lot; but then I
met Matthew Queen. Everything I had heard about him was true—even more than I realized. I
started a PhD program at my school, and he took me under his wing, encouraged me, would call
and text me to check in on me, to pray with me. He would reach out in his network to
consistently find internships, job opportunities, or ministry opportunities.
       I remember talking with him in his office one time before I started my PhD program.
Matthew Queen worked through the syllabus of the program with me, encouraged me to apply,
and offered his help whenever possible. In his seminars, he always gave great feedback,
encouragement, and helpful critiques.
        Later in my program, Matthew Queen took a sabbatical to write a few books. My study
carrell was a few doors down from his study carrell. More often than not, I would either knock
on his door or he would knock on my door. Whenever one of us started talking, we would have
to put on pause our studying and writing for the sake of enjoyable conversations. I recall even
talking to my mom on the phone one time and said something along the lines of “Whenever I
hear Dr. Queen coming down the hallway, I save my document, pause my music, and open my
door to begin a 45-minute conversation!”
        Matthew Queen holds a near and dear place in my and my wife’s hearts. He offered
wonderful dating advice to me when I was confused. I took his advice and my dating relationship
with my then girlfriend later turned into marriage. Often, my (at the time) girlfriend and I would
talk with Matthew Queen, grab lunch together, and shoot the breeze. We love Matthew Queen!
So much so that we asked him to be a part of our wedding. We had him come up and read a
section of the Bible (it was Revelation chapter 5, where it talks about the majesty and power of
the Lord Jesus).
       Over the years, from receiving guidance to being prayed for to being checked in on, I
have personally seen the character of Matthew Queen up close and personal—he is a man I
always strove to be like. He is a man of godly character, wisdom, integrity, and kindness.
Matthew Queen is genuinely a person I would hold as one of the most honorable, integrity-filled,
God-loving, kind-hearted men I have ever known.
     Case 1:24-cr-00291-LAK          Document 75-1        Filed 02/19/25     Page 89 of 93
                                                                                              085


        My wife is currently pregnant with our first child. A son! We are thrilled to welcome him
into the world. My wife and I would be even more thrilled if our newborn son, one day, grows up
to follow in the footsteps of Matthew Queen. If our son has even half the integrity, character and
kind heart as Matthew Queen, then that would be a major accomplishment as a parent!
        Matthew Queen loves the Lord Jesus in such a way that is inspiring. I hope to be like the
man, Matthew Queen one day. When I heard about his conviction, it broke my and my wife’s
hearts. I know what he did was wrong. I know that Matthew Queen knows in his heart what he
did was wrong. I know he is broken-hearted over his sin. I know he feels deep remorse for his
mistake. There are no excuses for the mistake he made. He made a mistake and he knows he
made a mistake. But I also know plenty of the character of Matthew Queen to know that he
won’t ever commit such a mistake ever again. I know he has repented before the Lord, sought his
forgiveness and is willing and ready to accept the consequences of his error. This guilty plea is a
sad situation in his life. But my feelings toward him do not change. I know the man, Matthew
Queen, and I know he knows what he did was wrong. He has told me that he knows what he did
was wrong.
        But I ask of you, Your Honor, to know how I cannot think any higher of Matthew Queen.
He is a godly man who is near and dear to my heart. He was my favorite professor. He was my
go-to guy whenever I had questions about the Bible. He is a man full of integrity—always
seeking to do what was right. Even when he would crack jokes with people, it was not
uncommon to receive a phone call from him about 15 or so minutes later because he wanted to
make sure the joke he made didn’t hurt your feelings (he never did because he never EVER
made fun of anyone. He was just always cautious because he cared deeply for people).
         Again, I cannot express my gratitude enough about Matthew Queen in my life. He is a
wonderful person. People love him. I love him. He has influenced my life in academia, in my
personal life, and my spiritual life. He is the reason why I got my college ministry job in Texas
where I eventually met my wife. He was the person I called when I asked about how to ask my
wife’s dad for permission to marry her. He was the person who called me and told me to stay in
the PhD program when I was so discouraged and was considering dropping out of the program. I
still remember that conversation. It went something along the lines of “Ben, I will not let you
drop out of this program. I know you can do it. We all had setbacks. I had setbacks in my
doctorate program similar to you. But I got through them and so will you.” He was the reason
why I didn’t withdraw from the program that day.
        I remember one time I picked Matthew Queen up one morning to take him to the airport
for an early morning flight. He took me to Chik-fil-A, sat down inside, and bought me breakfast.
I remember that was when he told me that he loved the combination of honey and chicken
together. I tried it and to this day always seek to combine honey and chicken together. If you
haven’t tried honey and chicken, I highly recommend it. It’s delicious!
        Another time, Matthew Queen and I and my friend all went to Taco Bell for lunch. We
sat inside and all talked about what we were reading and writing on (my friend and I had study
carrels next to Matthew Queen). We talked about basketball, Star Wars (specifically the
     Case 1:24-cr-00291-LAK         Document 75-1        Filed 02/19/25     Page 90 of 93
                                                                                            086


Mandalorian and Baby Yoda). It was a wonderful time. This was one of many lunches had with
Matthew Queen. I got to see the real Matthew Queen that not a lot of people got to see. I saw a
man who loves Jesus, always sought to live life with integrity, and expressed deep care for
everyone he came in contact with. Again, he is a man I hope I can be like. He is a man that I
hope my yet-to-be-born son to be like.
        Whenever Matthew Queen would talk of his wife, Hope, he always talked about her in
such fond, loving, respectful ways. Whenever he talked about his daughters, he would always
say how proud of them he was. How he was always praying for them to love the Lord, thrive in
life, and be happy. Again, I cannot speak higher of the man, Matthew Queen. He is a man I hope
to emulate in character, integrity, and honesty. He inspires me, offers advice, and
encouragement. He is a godly and good man. He is a friend and mentor.
        I appreciate your time and consideration reading my letter about Matthew Queen, Your
Honor. Matthew Queen is a great man. I have not known him from afar. I have known the man,
Matthew Queen, personally and I love him. I know he feels regret for the mistake he made. I
know he is heartbroken over his sin. I also know he won’t ever commit this mistake again. He
loves God too much to persist in sin. He made a mistake, he knows he made a mistake, I know
he admits he made a significant mistake. He owns his guilt, but I know he will not make this
mistake ever again. Again, I hold Matthew Queen as a godly role model in my life. I hope my
not-yet-born-son can be half the man that Matthew Queen is today. Thank you again, Your
Honor, for your consideration of my thoughts toward Matthew Queen’s kindhearted, family-
loving, integrity-filled, God-honoring character. He is a patient man. One of the most gentle men
I have ever known. He is immensely sincere in all his interactions. He earnestly loves God and
loves people in one of the best ways I’ve ever seen.




Ben Sutton




10/31/24
     Case 1:24-cr-00291-LAK           Document 75-1         Filed 02/19/25       Page 91 of 93
                                                                                                  087


Dear Judge Kaplan,

I am writing to provide you with a different perspective of Dr. Matthew Queen, who has been
both a friend and mentor to me since we met while I was attending seminary in 2013. His
character, intellect, and dedication are truly exceptional, and I hope Your Honor considers such
in sentencing him.

From the moment I met Dr. Queen, he has consistently demonstrated a strong moral character.
When recent allegations were made public, I was in shock and disbelief. His unwavering
commitment to justice and integrity is evident in every aspect of his life. I have witnessed his
interactions with his family and his work at Southwestern Baptist Theological Seminary, where
he has continually exhibited great character. Through his guidance, I have observed how he
thoughtfully engages with complex issues, always emphasizing empathy, understanding, and
transparency.

As a mentor, Dr. Queen has significantly impacted my personal and professional development.
He possesses a remarkable ability to inspire those around him, encouraging critical thinking and
fostering a sense of responsibility among aspiring ministry professionals. His supportive nature
and insightful feedback have been invaluable to my growth as both a student and a pastor, and I
know many others feel similarly.

Beyond his professional qualifications, Dr. Queen's character is exemplary. He conducts himself
with dignity and respect, consistently prioritizing the welfare of others and the Church. His
reputation for fairness and transparency speaks volumes, making him a respected figure among
peers and colleagues.

Though I still believe in all the qualities I discuss in this letter about Dr. Queen, he is a man like
the rest of us and capable of error. Such an error should not define him for he has done so much
good for so many people.

Thank you for considering this testimony. Please do not hesitate to contact me if you need any
further information.
Sincerely,




Dr. Anthony Svajda

Aurora, TX 76078


October 29, 2024
      Case 1:24-cr-00291-LAK            Document 75-1          Filed 02/19/25       Page 92 of 93
                                                                                                      088


To: The Honorable Lewis A. Kaplan
    United States District Court
    40 Foley Square
    New York, N.Y. 10007

October 28, 2024

Your Honor:

We have known Matthew Queen for 17+ years, as the Associate Pastor and Lead Pastor of our church,
Friendly Avenue Baptist Church, Greensboro, NC. He has served his Lord and won many to salvation ever
since we have known him. His character has always been beyond reproach and he is loved by all who know
him. He displays love, kindness, compassion, caring, and gentleness.

He got caught up in something that was so entangled that he made a mistake and we feel this would never
happen again.

Sincerely,


Lois Tharrington

Summerfield, North Carolina 27358




William P Tharrington

Summerfield, NC 27358
    Case 1:24-cr-00291-LAK               Document 75-1           Filed 02/19/25         Page 93 of 93
                                                                                                           089


November 41h 2024



The Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, NY 10007


Dear Judge Kaplan,

Matt Queen has been a great friend and has also proven to be a positive influence to my family for many
years. Matt has a special gift for easily relating to people. I have w itnessed this over and over with
people he sees often, or a stranger such as a server in a restaurant. They seem to feel his interest and
always respond positively.

Matt is grounded in his beliefs and is always happy to listen and share a word of encouragement when
needed. He seems genuinely interested in the concerns of others.

I must say a word about Matt's generosity. Several years ago while on a fishing trip wi th family Matt
called to ask if he could bring some fish. The fish had been frozen in water and stored in the freezer. We
took the fish to a fish fry and as it t hawed up I thought it looked a little strange (a little bit furry). Seems
we had received venison instead, from a previous hunting trip! We still talk and joke about this furry fish.

In conclusion all of our experiences over many years have been positive. I feel like he has been a blessing
to a lot of people both inside and out of our congregation and I know this will continue.

                                                                          fA~ ~ . JwJ,iJ/J
                                                                          Phyll~fil              !V -
                                                                           Greensboro, NC 27455
